Case 1:15-cv-05871-KPF Document 21-1 Filed 09/02/16 Page 1 of 76

who are not acting on behalf of the government that the government did not cause. However, the Due
Process Clause does prohibit state officials from engaging in conduct that renders an individual more
vulnerable to such harms. In this case, Plaintiff Price claims that Strohbehn rendered her more
vulnerable to harm by placing her on a “do not serve” list, informing the NYPD of such status, and not
ensuring that this messaging was kept confidential and did was not shared with Plaintiff’s abuser or
other neighborhood rogues seeking to do harm to Price in retaliation for her difficulties with their close
associate: Mr. Powell Price’s former pimp and abuser. To establish this claim, Plaintiff Price must
prove all of the 15 following four things by a preponderance of the evidence: First: The harm to Plaintiff
Price of being constantly under siege in her neighborhood when her abuser and his associates discovered
her status was a foreseeable and fairly direct result of Strohbehn’s conduct. Second: Strohbehn acted
with conscious disregard of a great risk of serious harm and deliberate indifference. Third: There was
some type of relationship between Strohbehn and Plaintiff Price that distinguished Plaintiff Price from

the public-at large: Fourth Strohbehn’s-action- made Plaintiff Price-more-vulnerable-to-attacks.as_persons.-

 

knew they would not face penal repercussions for harms they unhanded to Price. The first of these four
elements requires Plaintiff Price to show that the harm to Plaintiff Price, constant violent attacks in her
Harlem neighborhood was a foreseeable and fairly direct result of Strohbehn’s conduct. This element
includes two related concepts: foreseeability and directness. Foreseeability concerns whether Strohbehn
should have foreseen the DIRECT and constant battery of assaults Plaintiff Price would encounter if her
enemies were informed of the DO NOT SERVE status assigned her unlawfully and unconstitutionally
by Strohbehn. Directness of Strohbehn’s involvement in Price’s constant battery and assault from
neighbors concerns whether it is possible to draw a direct enough connection between Strohbehn’s
conduct can be said to be a fairly direct cause of constant battery Plaintiff Price suffered on many

occasions. Strohbehn acted with deliberate indifference. Strohbehn knew that there was a strong

66
Case 1:15-cv-05871-KPF Document 21-1 Filed 09/02/16 Page 2 of 76

likelihood of harm to Plaintiff Price, and that Strohbehn disregarded that risk by failing to take
reasonable measures to address it even though she knew the harm was obvious,

142. Strohbehn acted with conscious disregard of a great risk of serious harm. Strohbehn knew there was
a great risk of serious harm, and that Strohbehn consciously disregarded that risk. There was a
special relationship between Strohbehn and Plaintiff Price that distinguished Plaintiff Price from the
public at large. Strohbehn’s conduct created a risk to the general public by allowing people who
battered, assaulted and abused Plaintiff Price free-reign to continue their assault to others. The six
other women harmed by Rami Baly, the man who attacked Plaintiff Price on July 28, 2012 outside of
Soldier McGee’s Bar were put at risk and indeed suffered sexual assault and other forms of stalking
and harassment by Stohbehn’s act of placing Plaintiff Price on a Do NOT Serve List and denying her
police services when she knew that Plaintiff Price was not a fabricator. Strohbehn’s conduct created
a foreseeable risk to Plaintiff Price and another a definable group of people including Plaintiff Price:

—_—_—_—_————— other-women-in-NY-C-who-would-be-attacked-by-predators-given-leniency-because-of Strahbehn’s——___
personal vendetta against Plaintiff Price.

143. Count #14: Defendant Police Officer Matthew Winters: Section 1983 — Excessive Force
(Including Some Types of Deadly Force) During a Stop, Arrest, or other “Seizure” Under the
Fourth Amendment: Under Color of State Law in his official capacity as an employee of the
NYPD a division of an official Agency of the City of New York, or in his own capacity:

Plaintiff Price repeats and realleges each and every allegation contained in the above paragraphs.
claims that she was injured constitutionally by being excessively assaulted during an arrest by PO
Winters. The Fourth Amendment to the United States Constitution protects persons from being
subjected to excessive force while being arrested. In other words, a law enforcement official may only
use the amount of force necessary under the circumstances to make the arrest. Every person has the

constitutional right not to be subjected to excessive force while being arrested even if the arrest is

otherwise proper. In this case, Plaintiff Price claims that Winters used excessive force when he arrested

67
Case 1:15-cv-05871-KPF Document 21-1 Filed 09/02/16 Page 3 of 76

Plaintiff Price. In order to establish that Winters used excessive force, Plaintiff Price must prove both of
the following by a preponderance of the evidence: First: Winters intentionally committed certain acts.
Second: Those acts violated Plaintiff Price's Fourth Amendment right not to be subjected to excessive
force. In determining whether Winters’ acts constituted excessive force, you must ask whether the
amount of force Winters used was the amount which a reasonable officer would have used in making
the arrest under similar circumstances. The court should consider all the relevant facts and
circumstances (leading up to the time of the arrest that defendant reasonably believed to be true at the
time of the arrest that are amplified in pleadings and in the Appellate Panel’s summary of events
attached as Exhibit outlined when charges against Plaintiff were overturned by appeal on or about
February of 2016.. The court could consider those facts and circumstances in order to assess whether
there was a need for the application of force, and the relationship between that need for force, if any,
and the amount of force applied. Price was accused of disorderly conduct, or making noise and
———expressing-a profanity-at-police--neither-are-severe-erimes-atissue—Plaintiff Price-did NOT pose-an—
immediate threat to the safety of Winters or others. Plaintiff Price was clearly not armed as she was
wearing an eensey party dress. There were NO other-persons subject to the police action who were
violent or dangerous. Plaintiff Price never actively resisted arrest or attempted to evade arrest by flight.
Certainly Plaintiff’s injuries which have been plead and exhibits of severe injuries attached were the
direct result: of Officer Winter’s OVER USE of physical force that was applied to such an extent as to
lead to unnecessary injury. The reasonableness of Winter’s acts must be judged from the perspective of
a reasonable officer on the scene. The law permits the officer to use only that degree of force necessary
to make the arrest. The force Winters used was unreasonable: you can make out his HANDPRINTS
ON HER UPPER ARMS IN THE FORM OF BRUISES: following it does not matter whether Winters

had good motivations as clearly an Excessive Use of Force was used in Plaintiff’s wrongful arrest.

68
 

Case 1:15-cv-05871-KPF Document 21-1 Filed 09/02/16 Page 4 of 76

144. Count #s 15 and 16 & 17: Officers Relf and Officer Maldonado: Liability in Connection with
the Actions of Another — Failure to Intervene Police Officers Maldonado, Jane Doe and Officer
Relf under color of State Law in his official capacity as an employee of the New York City
Police Department a division of an official Agency of the City of New York, or in his own
capacity:

Plaintiff Price repeats and realleges each and every allegation contained in the above paragraphs
with the same force and effect as if fully set forth herein. Plaintiff contends that NYPD Officers Relf, D
and Maldonado and Officer Jane Doe violated Plaintiff’s specific right to not be arrested with excessive
Force by NYPD Officer Matthew Winters: and that NYPD Officers Relf , Maldonado and Doe should be
liable for that violation because Relf failed to intervene to stop the violation on September 24, 2011.
Relf , Maldonado and Doe are liable for that violation if plaintiff has proven all of the following four
things by a preponderance of the evidence: First: P.O. Matthew Winters violated Plaintiff Price's right
not to be excessively abused with excessive force while being detained or arrested. Second: Relf,
Maldonado and Doe had a duty to intervene. Police officers have a duty to intervene to prevent the use

of excessive force by a fellow officer. Third: Officers-Relf,Maldonado-and-Doe-Had-a-reasonable———___

opportunity to intervene. Fourth: Relf failed to intervene.

145. Count # 18 Section 1983 — Liability in Connection with the Actions of Another —
Municipalities — Choice by Policymaking Official, District Attorney Cyrus Vance Under color
of State Law in his official capacity as an employee of the Manhattan District Attorney’s
Office: a division of an official Agency of the City of New York, or in his own capacity:

Plaintiff Price repeats and realleges each and every allegation contained in the above paragraphs
with the same force and effect as if fully set forth herein. Plaintiff contends that The Manhattan District
Attorney’s Office (“MDAO)”) of the City of New York is a policymaking entity whose actions
represent a decision by the government itself (insert Walker case citation). The same is true of an official

or body to whom the MDAO has given final policymaking authority: such as Operation Crew Cut

Squads. The actions of that official or body represent a decision by the government itself. Thus, when

69
Case 1:15-cv-05871-KPF Document 21-1 Filed 09/02/16 Page 5 of 76

the MDAO or Vance make a deliberate choice to follow a course of action, that choice represents an
official policy. Through such a policy, the MDAO or the DA Vance may cause a violation of a federal
right by: - directing that the violation occur,: authorizing the violation, or: agreeing to a subordinate’s
decision to engage in the violation. The MDAO or Vance may also cause a violation through
inadequate training and/or inadequate supervision, failure to adopt a needed policy, but only if the City
of New York is deliberately indifferent to the fact that a violation of Due Process Rights to not be
Maliciously Prosecuted and to not be unlawfully Searched and Seized is a highly predictable
consequence of the [inadequate training, inadequate supervision, and the failure to adopt a needed
policy by Vance, the MDAO and the City of New York. I instruct you that Cyrus Vance Jr. and the

MDAO are policymakers whose deliberate choices represent official policy.

146. Count #s 19-23: Section 1983 — Unlawful Seizure: NYPD Officers: Detective Linda Simmons,
and Officer Matthew Winters: under color of State Law in his/her official capacity/ies as
~—-employees-of the New York City Police Department:-a-division-of an official Agency of the City —___
of New York, or in his/her own capacity:

Plaintiff Price repeats and realleges each and every allegation contained in the above paragraphs
with the same force and effect as if fully set forth herein. Plaintiff contends that NYPD Officers Winters
and Simmons violated Plaintiff’s specific right to not be arrested under The Fourth Amendment to the
United States Constitution which protects persons from being subjected to unreasonable seizures by the
police. A law enforcement official may only seize a person if there is appropriate justification to do 8
so. In this case, Plaintiff Price claims and has amply pled that defendants Winters and Simmons
subjected Plaintiff Price to an unreasonable arrest in violation of the Fourth Amendment. A
preponderance of the evidence pled amplifies these claims. First: Defendants Winters and Simmons

intentionally had no cause and acted with malice and or other motivation when arresting Price on four

occasions. Those acts subjected Plaintiff Price to (a) “seizures” and the “seizure” was unreasonable.

70
147.

Case 1:15-cv-05871-KPF Document 21-1 Filed 09/02/16 Page 6 of 76

Count # 24: Section 1983 — Unlawful Seizure Under the Fourth Amendment- Terry Stop and
Frisk: John Doe and Jane Doe Police Officers of the Midtown North Precinct under color of
State Law in his/her official capacities as employees of the NYPD: or in his/her own
capacity/ies.

Plaintiff Price repeats and realleges each and every allegation contained in the above paragraphs
with the same force and effect as if fully set forth herein. Plaintiff contends that NYPD Officers John
and Jane Doe of the Midtown North Precinct violated Plaintiff’s specific right to not be arrested on or
about JULY 3, 2015 when Plaintiff was seized and transported to /Bellevue Hospital “Arrest” on or
about July 3, 2015 as is amplified in the above pleadings. A “seizure” occurs when a police officer
restrains a person in some way, either by means of physical force or by a show of authority that the
person obeys. In view of all the circumstances of pleadings expressed about Price’s July 2015 seizure

by the Midtown North Precinct and its unknown police officers, a reasonable person would have

believed that Plaintiff Price was not free to end the encounter as Police had placed handcuffs on Price

 

 

and put her under armed guard in the back of an ambulance as they transported her against her will to
Bellevue Hospital for Psychiatric evaluation. If a reasonable person, under the circumstances, would
have believed that she was not free to end the encounter, then at that point the encounter has turned into
a “stop” that counts as a “seizure” for purposes of the Fourth Amendment. If the court finds that Plaintiff
Price has proved by a preponderance of the evidence that such a stop occurred, then the court must
decide whether the stop was justified by “reasonable suspicion.” The Fourth Amendment requires that
any seizure must be reasonable. In order to “stop” a person, the officer must have a “reasonable
suspicion” that the person has committed, is committing, or is about to commit a crime. These are not
the facts pled: Price was attempting to make a police report about an assault made against her person.
These specific facts, taken together with the rational inferences from those facts DO NOT reasonably

warrant the stop.

v1
Case 1:15-cv-05871-KPF Document 21-1 Filed 09/02/16 Page 7 of 76

148. COUNT #25: DUE PROCESS CLAIM AGAINST THE CITY Plaintiff Price repeats and
realleges each of the allegations contained in paragraphs 1 through 124 with the same force and
effect as if fully set forth herein. By its policies, practices, acts, and omissions, the City has caused
the plaintiff whose abuser was a Confidential Informants and/or witness/complainant on major cases
to be subjected to further abuse by the criminal justice system when she came forward for help, in
violation of her due process rights under the Fourteenth Amendment to the United States

Constitution.

149. COUNT #s 26 and 27: (Malicious Prosecution Under Federal Law: Defendants ADA Maria
Strohbehn, Ada Kenya Wells, City of New York Under the color of State Law in their official
capacities as employees of the Manhattan District Attorney’s Office:

Plaintiff repeats and realleges each and every allegation contained in this Complaint. By virtue of
the foregoing, the Individual Defendants, acting in concert with each other and with additional persons
—for whose acts they are liable, initiated, continued, and/or caused the initiation-or eontinuation_of,
criminal proceedings against Plaintiff. The criminal proceedings terminated in Plaintiff's favor. There
was no probable cause for the commencement or the continuation of the criminal proceedings. The

Defendants acted with actual malice. Defendant City of New York is liable under the principle of

respondent superior.

150. COUNT # 28 (42 U.S.C. §1983; Denial Of Due Process Under the Fifth, Sixth and Fourteenth
Amendments; Malicious Prosecution and Deprivation of Liberty Under the Fourth and
Fourteenth Amendments; (Defendants: Simmons, Strohbehn, Vance, Wells,) Plaintiff repeats
and realleges each and every allegation contained of this complaint as if fully set forth herein.
Among other offenses, Defendants Simmons knowingly and willfully manufactured, or caused the

manufacturing of, a false written statement, which they prepared and improperly compelled or

72
 

Case 1:15-cv-05871-KPF Document 21-1 Filed 09/02/16 Page 8 of 76

induced Plaintiff to sign under "oath," accusing Plaintiff of fabricating her own injuries or they told
her that her abuser would be arrested and he would tell everyone that she was working as a prostitute
under duress. They knew that the statement would, and caused the statement to, be relied upon by
the MDAO and the court as a basis to arrest Plaintiff, to formally initiate her prosecution, to hold her
for trial, and to compel Powell to submit affidavits, and to give testimony consistent with her
statement. Wells thereafter knowingly swore to a false Criminal Court complaint initiating the
criminal prosecution of Plaintiff, and causing Plaintiff to be held in Rikers Island and in the tombs at
100 Centre Street. Malicious Prosecution: Defendants filed hundreds of counts of aggravated
harassment against Plaintiff against the allotments stipulated by the statute for aggravated
harassment. Additionally, prior to trial, Simmons manufactured false "threat" evidence by filing a
false police complaint alleging that Plaintiff was responsible for numerous threats against Raheem
Powell: in fact Plaintiff’s assertions that she would turn Powell into the NYPD for his physical
attacks on her were themselves-seen through some perverted law-enforcement spectrum as.threats by
Plaintiff to Powell by the NYPD and the MDAO: they were used in the actual false filing as such
which caused injuries to Plaintiff, as set forth above. By virtue of the foregoing, Simmons and
Strohbehn and Wells, with actual malice, initiated and continued, or caused the initiation and
continuation of, criminal proceedings against Plaintiff for which they knew, or should have known,
there was no probable cause, and for which
a. In fact there was no probable cause, and thereby caused Plaintiff to be deprived of her liberty.
Such proceedings ultimately were terminated in Plaintiff's favor. Additionally, Simmons and
Strohbehn knew, but withheld from the MDAO, either permanently or for a substantial period of
time, and therefore from the court and the defense, exculpatory or impeachment evidence that

tended to negate Plaintiff's guilt and which they knew or should have known the law required

73
Case 1:15-cv-05871-KPF Document 21-1 Filed 09/02/16 Page 9 of 76

them to timely disclose (such as Plaintiff’s Batterers PREVIOUS FELONY CONVICTION F OR
DOMESTIC VIOLENCE by the MDAO). This evidence included, but was not limited to,
Hospital Emergency Room reports, statements from Plaintiff’s neighbors and ER doctors;
Photographs of Plaintiff’s injuries incurred at the hands of Powell; the fact that Powell was a
drug dealer who had acted in concert with the NYPD on more than one previous occasion; and
their unreasonable failure to investigate the information provided to them by Plaintiff and
Plaintiff’s attorney and advocates from various Domestic violence advocacy groups. The
aforesaid conduct, which Defendants committed in concert with and in aid of each other, and/or
in concert or conspiracy with others named and unnamed, operated to deprive Plaintiff of her
rights under the Constitution and the Laws of the United States:

i. Not to be arrested, indicted, prosecuted, detained, convicted, or imprisoned based upon

false, fabricated, manufactured, misleading, or inherently unreliable "evidence,"

 

including the statements-and-testimony of witnesses who -have-been-improperly
influenced, coerced, or manipulated to provide such statements and testimony, in
violation of the Due Process and Fair Trial Clauses of the Fifth, Sixth and Fourteenth
Amendments to the United States Constitution;

1. (b) Not to be deprived of her liberty absent probable cause to believe she has
committed a crime, in violation of her rights under the Fourth and Fourteenth
Amendments to the United States Constitution; and

2. (c) To timely disclosure of all material evidence favorable to the defense pursuant
to Brady v. Maryland, 373 U.S. 83 (1963), Giglio v. United States, 405 U.S. 150
(1972), and their progeny, and the Due Process and Fair Trial Clauses of the Fifth,

Sixth, and Fourteenth Amendments to the United States Constitution.

74
Case 1:15-cv-05871-KPF Document 21-1 Filed 09/02/16 Page 10 of 76

151. The foregoing violations of Plaintiffs federal constitutional rights by the Defendants and their
co-conspirators and accomplices, known and unknown, directly, substantially, proximately, and
foreseeably caused the initiation and continuation of Plaintiff's criminal prosecution, her loss of
liberty and detention, her wrongful conviction for disorderly conduct, her subsequent imprisonment,
her restriction of movement and freedoms as specified in the order of protection the court ordered
against her in the name of her batterer, Raheem Powell, her to be placed on a NYPD ‘no services’
list and her other injuries and damages. The foregoing violations of Plaintiffs rights amounted to
Constitutional torts and were affected by actions taken under color of State law, and within the scope
of the Defendant's' employment and authority. Defendants committed the foregoing violations of
Plaintiffs rights knowingly, intentionally, willfully, recklessly, and/or with deliberate indifference to
Plaintiff's constitutional rights or to the effect of such misconduct upon Plaintiff's constitutional

rights. 413. By reason of the foregoing, the Defendants are liable to Plaintiff, pursuant to 42 U.S.C. §

 

————1983--for compensatory-and-for-punitive-damages: —=

 

152. COUNT #29: (42 U.S.C. §1983; Denial Of Due Process Under the Fifth, Sixth and Fourteenth
Amendments; Malicious Prosecution, Abuse of Process, and Deprivation of Liberty Under the
Fourth, Fifth, Sixth, and Fourteenth Amendments; Defendants: Moore, Wells, Strohbehn,
Simmons, Vance acting under color of State law in their official capacities:

Plaintiff repeats and realleges each and every allegation contained in contained in this complaint
as if fully set forth herein Knowing that any colorable cause to continue the prosecution had evaporated,
Wells, in the capacity of an investigator or "witness," acted in concert and conspired with Strohbehn,

Wells, Moore, and others, named and unnamed, to use any means, no matter how unlawful or coercive,

75
Case 1:15-cv-05871-KPF Document 21-1 Filed 09/02/16 Page 11 of 76

to intimidate them into falsely accusing Plaintiff of the charged crimes. These illegal and
unconstitutional means included, but were not limited to,
i. Abusing judicial process by misusing the court's subpoena power to compel witnesses to
appear at Court and the Das office;

ii. Abusing judicial process by deceiving the court into issuing "orders of protection"
restricting Plaintiff’s liberties and freedom by: Personally attesting to "facts" which they
knew were untrue in order to deceive the court into issue orders authorizing them to take
custody of such plaintiff;

153. These lawless actions foreseeably caused the aforementioned witnesses to manufacture false
evidence which Strohbehn and Simmons then used to continue Plaintiffs malicious prosecution,
without probable cause, and for Wells to bring about her false conviction at trial. The foregoing
violations of Plaintiffs federal constitutional rights by the Defendants, together with their

—__-go-conspirators-and accomplices, known and unknown, directly, substantially, proximately, and

 

foreseeably caused the continuation of Plaintiffs malicious prosecution without probable cause, her
wrongful imprisonment, and her other injuries and damages. The foregoing violations of Plaintiffs
rights amounted to Constitutional torts and were affected by actions taken under color of State law,
and within the scope of the Defendant's' employment and authority. Defendants committed the
foregoing violations of Plaintiffs rights knowingly, intentionally, willfully, recklessly, negligently,
and/or with deliberate indifference to Plaintiff's constitutional rights or to the effect of such
misconduct upon Plaintiffs constitutional rights. By reason of the foregoing, the Defendants are
liable to Plaintiff, pursuant to 42 U.S.C. § 1983, for compensatory and for punitive damages.

154. CLAIM #29: (Monell/42 U.S.C. § 1983: Claim Against Defendant City of New York For The
Actions Of The NYPD)

76
Case 1:15-cv-05871-KPF Document 21-1 Filed 09/02/16 Page 12 of 76

Plaintiff repeats and re-alleges each and every allegation contained in contained in this
complaint as if fully set forth herein. The foregoing violations of Plaintiffs federal constitutional rights
and injuries were further directly, foreseeably, proximately, and substantially caused by conduct,
chargeable to Defendant City, amounting to deliberate indifference to the constitutional rights of
persons, including Plaintiff, who are investigated, arrested, or prosecuted for alleged criminal activities.
Prior to Plaintiff's arrest, policymaking officials at the NYPD, with deliberate indifference to the
constitutional rights of individuals suspected or accused of criminal activity, to the risk of arresting,
prosecuting and convicting innocent people, and to the right of all criminal suspects and defendants to
due process and a fair trial, implemented plainly inadequate policies, procedures, regulations, practices,
customs, training, supervision, and discipline concerning:

i. The use of excessive promises of rewards with witnesses, including drug dealers and

and/or individuals fearing persecution and imprisonment for their own criminal behavior;

 

a ii. The determination of probable cause to make an-arrest; and -

iii. The continuing duty of police investigators to preserve and to make timely disclosure to
the District Attorney, during criminal investigations and prosecutions, of all material
evidence or information ("Brady material") favorable to a person suspected, accused or
convicted of criminal conduct, including, but not limited to, evidence of innocence,
evidence that an identifying or prosecution witness is unreliable or lacks general
credibility, evidence that a prosecution witness has made inconsistent statements about
material facts, and evidence that a prosecution witnesses has a motive, bias or interest
affecting his credibility or has been pressured or coerced, so that the District Attorney
could comply with his constitutional obligation to disclose such information to the

defense under Brady.

77
155.

Case 1:15-cv-05871-KPF Document 21-1 Filed 09/02/16 Page 13 of 76

With respect to "a" and "c" in the preceding paragraph, prior to Plaintiff's arrest and the initiation of
her prosecution the NYPD or the MDAO provided no training at all in regards to how a DV or
trafficking complainant should be evaluated or the efficacy of their complaints as victims should
they be suspected of fabricating their injuries. What further review other than the cursory nods by
individuals who had not investigated the facts is needed to brandish such a title on a crime
victim/complainant? What review exists to ensure an investigation is in fact undertaken? What
checks and balances are in place to ensure innocent victims are not falsely branded “fabricators”
enabling their abusers to use the criminal justice system against them to control their lives and alter
the freedoms and liberties most citizens enjoy? To imprison them and cause them public shame,
emotional distress, loss of income and loss of private and professional standing? The aforesaid
deliberate or de facto policies, procedures, regulations, practices and/or customs (including the
failure to properly instruct, train, supervise and/or discipline employees with regard thereto) were
imptemented-or toterated-by-policymaking-officials-for-the-Defendant-City-of New-York, -including————
but not limited to, the New York City Police Commissioner, who knew (or should have known):

a. toa moral certainty that such policies, procedures, regulations, practices
and/or customs concern issues that regularly arise in the investigation and
prosecution of criminal cases;

b. that such issues either present police employees with difficult choices of
the sort that instruction, training and/or supervision will make less difficult
or that the need for further instruction, training, supervision and/or
discipline was demonstrated by a history of police employees mishandling
such situations as well as the incentives that police employees have to

make the wrong choice; and

78
Case 1:15-cv-05871-KPF Document 21-1 Filed 09/02/16 Page 14 of 76

c.

that the wrong choice by such employees concerning such issues will
frequently cause the deprivation of the constitutional rights of criminal
suspects or defendants and cause them constitutional injury.

The aforementioned policymaking officials had the knowledge and the
notice alleged in the preceding paragraph based upon, among other
circumstances: Plaintiff has obtained amicus briefs and affidavit testimony
from present and former Domestic Violence advocacy groups,
establishing, prior to and during the time period of Plaintiff's arrest and
prosecution, the NYPD and MDAO provided no training concerning
appropriate interrogation of Domestic Violence complainants suspected of
being fabricators. formal reports of the N.Y.C. Comptroller's Office and
the Bar Association of the City of New York criticizing the NYPD and the
N-¥-€-Law-Department-for-faiting-to-follow-up-substantial-civil-
settlements for police misconduct with disciplinary or other remedial
action; and the inherent obviousness of the need to train, supervise and
discipline police officers in such obligations to counteract the pressure on
officers and the powerful incentives they have to close cases and to obtain
arrests and convictions. Under the principles of municipal liability for
federal civil rights violations, the City's Police Commissioner (or his
authorized delegates), has final responsibility for training, instructing,
supervising, and disciplining police personnel with respect to the
investigation and prosecution of criminal matters, including constitutional

requirements governing the interrogation of witnesses, the initiation of

79
Case 1:15-cv-05871-KPF Document 21-1 Filed 09/02/16 Page 15 of 76

criminal prosecutions, and the disclosure of Brady material. The Police
Commissioner, personally and/or through his authorized delegates, at all
relevant times had final authority, and constitutes a City policy maker for
whom the City is liable, with respect to compliance by NYPD employees

with the above-mentioned constitutional requirements.

156. During all times material to this Complaint, the Police Commissioner owed a duty to the public at
large and to Plaintiff, which he knowingly and intentionally breached, or to which he was
deliberately indifferent, to implement policies, procedures, customs, practices, training and discipline
sufficient to prevent or deter conduct by his subordinates violating the aforementioned constitutional
rights of criminal suspects or defendants and of other members of the public. The aforesaid policies,
procedures, regulations, practices and/or customs of Defendant City and the NYPD were collectively

——andindividually-a-substantialfactor-in-bringing-about-the-aforesaid-violations-by-the-Individual—
Police Defendants of Plaintiffs rights under the Constitution and laws of the United States. By virtue
of the foregoing, Defendant City of New York is liable for having substantially caused the foregoing

violations of Plaintiffs constitutional rights and her constitutional injurics.

157. CIAIM #30: (Monell/42 U.S.C. § 1983 Claim Against Defendants: Vance, Moore, City Of New
York For Actions Of The MDAO)
Plaintiff repeats and realleges each and every allegation contained in contained in this
complaint as if fully set forth herein. At the time of Plaintiff's original prosecution, and continuing,
District Attorney Cyrus Vance Jr, as the manager and chief administrator of the MDAO, a City agency,

maintained a policy, custom and/or practice of deliberate indifference to violations by his employees of

the constitutional rights of individuals who made complaints as victims of domestic violence whose

80
 

Case 1:15-cv-05871-KPF Document 21-1 Filed 09/02/16 Page 16 of 76

batterers held information critical to other investigations and criminally prosecuted in New York County,
including, but not limited to, abuse of process, manufacturing of false evidence and testimony through
improper coercion of witnesses, Brady violations, reliance on false or misleading evidence and argument
at trial ("the policy"), and covering up the same. The policy permits, encourages, or acquiesces in the
commission of, constitutional violations of the rights of suspects and defendants by prosecutors,
detective-investigators, and NYPD detectives working with the D.A. 's Office, particularly in high
profile or serious cases where arrest and conviction is most desired by the Office. The policy led directly
to the violations of Plaintiffs constitutional rights, and the subsequent cover-up of police and
prosecutors' wrongdoing, which greatly prolonged Plaintiffs wrongful imprisonment, seizure and other
damages. Vance had no employee handbook, manual, or other document setting forth any process for
evaluating “fabricators”. Defendant CITY is liable for having substantially caused the foregoing

violations of Plaintiffs constitutional rights and his resultant injuries.

158——-CLAIM-+#31-(Negligent- Hiring, Training and-Supervision Under State-Law; Defendant City

159.

160.

of New York, Vance, Moore acting under the color of state law in their official and individual
capacities)

Plaintiff repeats and realleges each and every allegation contained in this Complaint. By virtue of
the foregoing, defendant City of New York is liable to plaintiff because of its intentional, deliberately
indifferent, careless, reckless, and/or negligent failure to adequately hire, train, supervise, and discipline
its agents, servants and/or employees employed by the MDAO and or the NYPD with regard to their
aforementioned duties.

CLAIM # 33: 42 U.S.C. §1983; Denial Of Due Process Under the Fifth, Sixth and Fourteenth
Amendments; Abuse of Process, and Deprivation of Liberty Under the Fourth, Fifth, Sixth,
and Fourteenth Amendments; Defendants Obe, Pierre-Louis, Strohbehn, Vance, Wells,

Winters: the NYPD and the MDAO, as a matter of policy, stripped Miss Plaintiff of her First
Amendment Rights to petition the Government for redress of grievances:

12 Cause of Action: 42 U.S.C. §1983; Unreasonable Search & Seizure Under the Fourth
Amendment's; *Abuse of Process, and Deprivation of Liberty Under the Fourth, Fifth, Sixth,

81
Case 1:15-cv-05871-KPF Document 21-1 Filed 09/02/16 Page 17 of 76

and Fourteenth Amendments*; Defendants: Simmons, Strohbeh, Wells, Winters and Vance
Under Color of State Law:

Plaintiff’s knowingly kept Plaintiff Price under unreasonable seizure for an elongated period of
time during her false arrest and drawn-out prosecution lasting approximately SIX years (during which
the seizure continued) denying her of her Fourth Amendment right against unreasonable searches and
seizures as some charges are still Pending as this complaint is filed.

161. CLAIM # 34: 42 U.S.C. §1983; Excessive and Unusual Punishment Under the Eighth
Amendment; *Abuse of Process, and Deprivation of Liberty Under the First, Fourth, Eighth,
Fifth and sixteenth Amendments*; Defendants Simmons, Moore, Wells, Strohbehn, Vance
Under the color of state law in their official capacities:

Defendants eschewed Plaintiff her Eighth Amendment rights by denying her police services
asserting excessive and unusual punishment and commencing coutt proceedings not once but twice
against Plaintiff Price in order to achieve another goal: to keep her batterer and abuser, Raheem Andre

Powell cooperating with their operation “Crew Cut” investigation(s).

DAMAGES

aL WHEREFORE, Plaintiff seeks.compensatory damages.in.the.amount.of $30,000,000. (THIRTY MILLION

USD) together with attorney fees and court costs for defamation, loss of work, emotional pain and suffering.
Plaintiff also seeks POLICY CHANGE for the way that Domestic Violence Survivors are treated within the
criminal justice system when they come forward for help in extracting themselves from life-threatening
intimate partner situations. A methodology and better training needs to be implemented for identifying true
victims that is not subject to the whimsy of one lone prosecutor’s bias(es). When a victim is thought to be a
‘fabricator’ a review of his/her case need to be examined by Domestic Violence advocates, therapists,
social workers, and psychiatrists before they are denied protections, police services, social welfare services,
a normal quality of life free from harm, and their ability to petition the government for redress of grievances.
Recently, the Manhattan District Attorney Cyrus Vance has stated that his office reviews 5,000 case of
Domestic Violence a year. How many of these cases are labeled ‘fabrications’ by prosecutors with other
motives or who are too burdened by their caseloads and lack the acumen or incentive to make the right call?

Plaintiff seeks transparency and public dialogue in order to ensure other victims don’t slip through the cracks

82
Case 1:15-cv-05871-KPF Document 21-1 Filed 09/02/16 Page 18 of 76

allowing their batterers to be emboldened to harm others and the victim to slip into emotional, psychological,

social, physical and economic dire straits.

a. Plaintiff Price is a talented, ardent, skilled ambitious (Exhibit # 17 recent letter of recommendation from
Dorchen Leidholdt, Director of Battered Women's’ Services at Sanctuary for Families, NY) used to
operate at very high-level as one of the most respected young photojournalism editors running war
correspondents in and out of conflict zones (Exhibit # ). She is a graduate of Mount Holyoke College and
attended the University of Colorado where she worked on her Master’s degree: she won many academic
awards and scholarships and endeavored to have a bright future ahead of her. Plaintiff ran the world's top
photojournalists in and out of war zones and covered top stories on all fronts for over the past decade.
(Exhibit # II list of some of Price’s journalistic accomplishments.) She had achieved a high level of
respect and admiration based on trust and love and solid, steady, cool-headed work. Now her life is
literally in tatters. Credibility is key to the journalistic community and the pallor of criminality still
follows her as a result of the malicious arrests and prosecutions. The emotional pain and suffering from
these-events-has-debilitating-effeets-on-Plaintiff-who-has-literallylost-everything.she-worked for:-her———___.
personal identity, her career, her familial and social support networks, her unborn child, her apartment,
her belongings, had her car repossessed, lost a pet because she did not have funds for vet bills, been
ostracized from everything and everyone that meant anything to her. She was at one time trusted and
loved until her world fell apart because of these prosecutions by the people she turned to for help at her
darkest, most helpless hour. Plaintiff more than anything wants her name back and wishes to continue to
do the good work she was producing. She struggled to build a beautiful life for herself. Now she is trying
to put the pieces of her life together but her troubles seem to compound as time slips by.

125. Plaintiff has been diagnosed with Complex Post-Traumatic-Stress-Disorder by Psychiatrists and therapists
at the St. Luke’s Roosevelt Hospital Crime Victims Center (Exhibit # JJ) where she has been in intensive

Domestic Violence therapies and programs since 2011 and by the Psychiatric staff at Bellevue Hospital’s

9/11 Survivors’ Health Care Program. She suffers severe depression, bouts of racing thoughts, nausea,

83
Case 1:15-cv-05871-KPF Document 21-1 Filed 09/02/16 Page 19 of 76

temperature swings, disassociation, mood-swings, sleeplessness, despair, weight fluctuations, digestive

disorders and headaches. She is currently in therapy at Sanctuary for Families, New York for the same

disorders.
126. DAMAGES DEMAND WHEREFORE, Plaintiff demands judgment against the Defendants as follows:

a. For POLICY CHANGE for the way victims of trafficking and battery abused by Confidential Informants
and/or witnesses/complainants on major cases are handled by the Police and District Attorneys when
they come forward for help and to report the abuse.

b. For compensatory damages of not less than $30 million,

c. For punitive damages against the individual Defendants of$10 million;

d. For reasonable attorneys' fees, together with costs and disbursements,

e. pursuant to 42 U.S.C. §1988 and to the inherent powers of this Court;

f. For pre-judgment interest as allowed by law; and For such other and further relief as this Court may
deem just and proper.

27. The-Manhattan-Distriet-Attorney-Mr-Cyrus-VanceJr..quoted-Berger-v-S,-295.U,S,-78,.88-(1935) in his.
Recommendation for Dismissal of charges against DSK: “Along with the substantial power conferred upon
prosecutors come unique responsibilities. Rather than serving only as a zealous advocate on behalf of a
client, prosecutors have a broader set of obligations to the community, the victim, and the defendant:

“The [prosecutor] is the representative not of an ordinary party to a controversy, but of a sovereignty whose

obligation to govern impartially is a complaint as its obligation to govern at all; and whose interest, therefore,

in a criminal prosecution is not that it shall win a case, but that justice shall be done. As such, he is in a

peculiar and very definite sense the servant of the law, the twofold aim of which is that guilt shall not escape

or innocence suffer.”

128. | How much longer must Ms. Price suffer?

84
Case 1:15-cv-05871-KPF Document 21-1 Filed 09/02/16 Page 20 of 76

Kelly Price

 

 

85
Case 1:15-cv-05871-KPF Document 21-1 Filed 09/02/16 Page 21 of 76

 

gy Price

Sworn to me this

2" Day of September, 2016

NEIL MARTIN ZANG
Notary Public, State oi New York
No. XX-XXXXXXX

ualified in Richmond County

erm Expires April 30, 498¢— KVP

 
Case 1:15-cv-05871-KPF Document 21-1 Filed 09/02/16 Page 22 of 76

J

 

xaare
# Netflix - Wateh TY S fd Office Supplies, Of = Fedix Ship Manage CH YouTube

»
y
K

nitter.com 25P
| AOLeom -News Sp. fff Courts GRY Divorce Resources {HR wwewnycourts.gow/an fit wren.nycourts.gow/t ven an
[

 
     

<a
se eae = e
=o S oe ae
2 Se a ' ae ne
ee ee oe | oe oe :
= oe oe ‘ ae
.
oe
. =
ae ee Se eo
nee : 2
oe oe :
ee oe Se se }
Sn See a Be
8 ae
es a
ote > E
ne oe -

mL meter em
- > | Account not monitored 24 hours.

eae

a un er aS
S 2 vt http://www.nyc.gov/nypd

   

THETT
ay

 

aT
rere ety

eT

  

Preerynyernriyin

1 Filed 09/16 Page 23 of 76

   

nent 21

: b . , iN e413 , . ; im ‘ann WV to follow -atres ars
awe = i int Magnum Photos
2; Follow
ae

*&: Follow

& Michael Best
iw SS Follow

 

Case 1:15-cv-05871-KPF

#PizzabutHur &,

 
Case 1:15-cv-05871-KPF Document 21-1 Filed 09/02/16 Page 24 of 76

‘ @ Home

5 Moments

cn

Top Live

Who to follow - Refresh - View all

Max Blumenthal @ @MaxB...
' &+ Follow

Erik Jensen @erikjjensen81 x

&+ Follow

Mariska Mission @Matiska....
i l 2 Follow
eS ak

Find friends

 

Trends - Change

#PizzaHuthut

Use #PizzaHutHut to bring football and pizza
together.

Promoted by Pizza Hut

#NYCEC
2,026 Tweets

#SnatchGameAllStars
2,056 Tweets

#hurricanehermine
18K Tweets

#E|Debate
11K Tweets

Garrison Keillor
9,092 Tweets

Melania Trump
13.7K Tweets

#QueenSugar
1,175 Tweets

App State
15.7K Tweets

Blazing Saddles

#inners
3,540 Tweets

© 2016 twitter About Help Terns
Privacy Cookies Ads info

& Notifications

~~ Messages wW

Accounts Photos Videos

 

from:gracieegorgeous @nypd28¢ Q ‘

More options v

K Grace Price @GracieeGorgeous « Feb 5
@nypd28pct note how even #harriettubman turns on her heels & RUNS from
pct! Shouldn't she be headed North?

 

e £4 ill eee

K Grace Price @GracieeGorgeous « 1 Dec 2015
Thats @NYPD28pet hard at work! OBE is ‘1st black, female inspector @ any
precinct & this is how she runs her shop...

Fille De Sankofa @Gem_FromWA

NYPD protects consumerism before it protects ur legal
right 2 peaceful protest! 125th #NotOneDime unless u
#buyblack

 

4 at 1 2 lt see

In reply to NYPD PBMN

K Grace Price @GracieeGorgeous » 16 Aug 2015

@NYPDPBMN @NYPD28Pct Chief O'Reilly: Remember you created hundreds
of teen abusers in Harlem by allowing my batterer to walk free: nice job!

& tt ilt ace

K Grace Price @GracieeGorgeous - 16 Aug 2015

| @ManhattanDA @RPLNYC @NYPD28pct Hone vou folks are aware I'm aoind
Case 1:15-cv-05871-KPF Document 21-1 Filed 09/02/16 Page 25 of 76

e (= | =a
@ Home 5 Moments 4a Notifications pe Messages . J from:gracieegorgeous @nypd28; Q. Re | lf

 

In. to. An

 

—————

 

& £ il eco

K Grace Price @GracieeGorgeous » 29 Jun 2015

| @nypd28pct WHAT DO THOSE WHO ALLEGEDLY TRAFFICKED A 13 yo

Orthodox girl from BKLYN & my batterer SHARE? goo.gl/L2bqdd #MONELL
+e tt ill coe

 

 

K Grace Price @GracieeGorgeous - 23 Jun 2015

i @AngelaGreben @NYPD26Pct | JUST FELL IN LOVE FOLKS @JaiisAction

@PROPNYC @ManhattanDA @BilldeBlasio @racheinoerd @AntonioFrench
@MRFIVEINC

a ey 2 ill see

In reply to Angela Greben

K Grace Price @GracieeGorgeous - 23 Jun 2015

@AngelaGreben @NYPD28Pct what you are doing is really terrific Angela
THANK YOU SO MUCH FOR FIGHTING THIS UNCONSTITUTIONAL
TWITTER BLOCKING

+e a1 1 allt ane

in reply to Angela Greben

K Grace Price @GracieeGorgeous - 23 Jun 2015

@AngelaGreben @NYPD28Pct tell you the truth | am OVERDUE ON #myNYPD
#FOIA REQUESTS! | NEED A MANAGER. | HAVE FAR 2 MANY BALLS IN
THE AIR

4 ey ill eco

In reply to Angela Greben

K Grace Price @GracieeGorgeous - 23 Jun 2015

@AngelaGreben @NYPD28Pct wow Angela who ARE YOU LADY AND WHERE
HAVE YOU BEEN MY WHOLE LIFE????? I/II!

+e 2 ill ooo
K Grace Price @GracieeGorgeous « 5 Jun 2015

@NYPD28pct Women of @newyorkcity BEWARE U aren't SAFE when U turn 2
#MyNYPD & @ManhattanDA 4 help wi#domesticabuse
Case 1:15-cv-05871-KPF Document 21-1 Filed 09/02/16 Page 26 of 76

gorgeous212
The Manhattan District Attorney's office STILL MAINTAINS the position to
this day that | imagined/“fabricated” my own abuse. LETS BE CLEAR: |...

gorgeous212.tumblr.com

+e ay ill eae

   

K Grace Price @GracieeGorgeous « 20 Jan 2015

Te, @BilldeBlasio “Do unto others as you would have them do onto you.”
@NYPD28pct put me in #Rikers as #DV vctm. "Do Unto them" indeed Mr.
MAYOR

a or) ll see

# Inreply to NYC Scanner

K Grace Price @GracieeGorgeous - 21 Dec 2014
@NYScanner few of my injuries from DOZENS of beatings: @NYPD28pct

literally would throw away my 61s @NYPDCommaAfiairs

 

“127.309 S269

    

ees oat WE jos. ta 163 T joy eer PGA ag de

 

+ ay 1 A eee

#& In reply to NYC Scanner

K Grace Price @GracieeGorgeous » 21 Dec 2014
) @NYScanner @NYPD28pct Sgt Agron told me if | didnt leave he would arrest
me 4 trespassing. | MADE IAB COMPLAINT HE LOST VACATION DAYS.

+ a 1 ill eae

 

€ Inreply to NYC Scanner

K Grace Price @GracieeGorgeous - 21 Dec 2014
@NYScanner was it Desk SGT Agron whose Arm was broken? Once | went 2
@nypd28pet covered in own blood from a beating & he laughed in my face

& ay all eee
Case 1:15-cv-05871-KPF Document 21-1 Filed 09/02/16 Page 27 of 76

go. o.

go of,

In reply to NYU Scanner

K Grace Price @GracieeGorgeous - 21 Dec 2014
@NYScanner never liked the @nypd28pet. As a #DomesticViolence survivor
Rodney Harrison's team threw me in Rikers 2 protect my batterer.

& ty 1 alt eae

In reply to Chirlane McCray
K Grace Price @GracieeGorgeous - 29 Nov 2014

@Chirlane @BilldeBlasio My bday was T-giving: bc @NYPD28Pet &
@manhaitanda forsook me as an #IPV survivor | have little left to give thks 4.

4 t? ill ese

K Grace Price @GracieeGorgeous - 23 Nov 2014
@NYPost @TymMatusov @BlinkerMullings Yea | know Harrison. His
@NYPD28Pct threw me in #Rikers when | went there 4 help as an #IPV victim.

& ay ill eco

In reply to Geoffery Mullings

K Grace Price @GracieeGorgeous - 29 Oct 2014
@BlinkerMullings @TymMatusov @NYPD26Pct it was @NYPD28pct not the 2-
6 although the chief, Rodney Harrison, moved to the 2-6 after debacle

4 “et { alll eee

K Grace Price @GracieeGorgeous « 17 Oct 2014
@manhattanda @NYPD28pct @CommissBratton daily @ St Elizabeth's | pray
4 the return of things you have taken from me

The following media may contain sensitive material.

 

 

Your madia settings are configured to Inform you when media may ba Sénsiive. SS

View content

& ay ill ace

K Grace Price @GracieeGorgeous + 17 Oct 2014
@NYPDNews ran into good cops from @NYPD33pct @ Buczek Memorial &
asked @NYPD28Pct to do better w #DomesticViolence

Manhattan District Attomey Cyrus Vance Jr.: END ...

"Secondary Victimization,” is abuse suffered at the hand
of not a primary batterer but also at the hands of a
“justice system" meant to protect and offer refuge to ...

change.org

4 a ll one

In reply to Museum of Corruption
K Grace Price @GracieeGorgeous «14 Oct 2014

@CorruptMuseum @NYPD28Pct is the place for CORRUPTION in #MyNYPD -
ask Inspector Obe chn.ge/1IfKJZd @sffny

   
 

e ry ill eels

K Grace Price @GraciaeGorgeous » 14 Oct 2014
@NYPD28pet "Caller has checked the NYC municipal policy on blocking & they
can only block a person if they were abusive" @CommissBratton

+e “a ill eon

K Grace Price @GracieeGorgeous - 14 Oct 2014

|} @CommissBratton @NYCMayorsOffice @Chirlane Complaint vs. Insp. Obe
@NYPD28pct for violations of NYC Social Media Policy: #C-1-1-1023188047
e ty ill soe

d K Grace Price @GracieeGorgeous « 14 Oct 2014
@SayNoMore @SafeHorizon RT: from @NYPD28Pct "Tips & Suggestions On
Reporting #DV...ow.ly/Cdl1G" Obe suggests we buy earrings...
e& te 1 1 ill one

 

K Grace Price @GracieeGorgeous - 14 Oct 2014
] @NYPD28Pct bad cops: Obe, Agron, Simmons (ret), Flowers(ret), Fontanez,
Williams, D'Amato, Good cops: Sol, Walker, Harrison, LaRocca(ret)

4 1 ilt eee

 

In reply to NYPD 28th Precinct

K Grace Price @GracieeGorgeous - 14 Oct 2014
@NYPD28Pct make sure if you leave your car unattended that you At least pick
up a nice pair of earrings 4 Inspector Obe! She prefers silver.

a) td 1 ill ace

 

& Inreply to NYPD 28th Precinct

j K Grace Price @GracieeGorgeous « 14 Oct 2014
@CommissBratton. PRETTY PLEASE Commissioner B encourage your leaders
to open their ears to #DomesticViolence survivors @NYPD28Pct @sfiny

+ ey 1 ill eee

In reply to NYPD 28th Precinct

K Grace Price @GracieeGorgeous - 14 Oct 2014
@CommissBratton @NYPD28Pct @sffny. OBE You need to LISTEN to
#DomesticViolence survivors: not just give lip service.

 

 
Case 1:15-cv-05871-KPF Document 21-1 Filed 09/02/16 Page 29 of 76
7 r¥ y Ge ger

  

#. Inreply to NYPD 28th Precinct
P K Grace Price @GracieeGorgeous + 14 Oct 2014
Re ; @NYPD28Pct @NYCagainstabuse @ManhattanDA @CommissBratton
@SFFNY great choice to lead the corrupt & dirty 28th pct! Insp. Obe fits right in!
Sa) a alt oer

#& Inreply to NYPD 28th Precinct

e K Grace Price @GracieeGorgeous - 14 Oct 2014
Xk @NYPDNEWS @CommissBralton @NYPD28Pct @NYCagainstabuse @SFFNY
. Insp. Obe blocked me from the 2-8 twitter accnt. She is off to a good start!

oS “3 2 4 all see

#& Inreply to NYPD 28th Precinct

 

 

- K Grace Price @GracieeGorgeous - 14 Oct 2014

ay @NYPD28Pct @NYCagainstabuse PUBLIC OFFICIALS USING TWITTER
ACCNTS TO SERVE THE PUBLIC SHOULD NOT BLOCK USERS WHO VOICE
VALID COMPLAINTS OBE

& tt? 1 tli aoe

In reply to NYPD 28th Precinct

K Grace Price @GracieeGorgeous + 14 Oct 2014
@NYPD28Pct @NYCagainstabuse as a PUBLIC OFFICIAL your job is to listen
to the people in your pet insp OBE. Blocking #DV survivors = shallow

& “ee + ill wee

 

In reply to NYPD 28th Precinct

K Grace Price @GracieeGorgeous - 14 Oct 2014
| @NYPD28Pct @sffny nice selection INSP OBE! Any extra time to respond to
the letter | sent 2 your precinct about #DV?

4

*

 

—_

nae
oe

 
Case 1:15-cv-05871-KPF Document 21-1 Filed 09/02/16 Page 30 of 76

 

4 tt 1 ill ses

4 In reply to NYPD 28th Precinct
K Grace Price @GracieeGorgeous « 14 Oct 2014

ti @NYPD28Pct @sffny ATTN Insp OBE: link 4 #4DomesticViolence prevention
: leads to a JEWELRY MALL. Your selection is nice ow.ly/Cdl1G
4 ay 1 ill see

#& In reply to NYPD 28th Precinct

K Grace Price @GracieeGorgeous - 13 Oct 2014
@NYPD28Pct @sffny WHY encourage #IPV Victims to report abuse if @NYPD
does not help? chn.ge/1IfKJZd. The 2-8 needs to clean house!

Manhattan District Attomey Cyrus Vance Jr.: END ...

"Secondary Victimization,” is abuse suffered at the hand
of not a primary batterer but also at the hands of a
"justice system” meant to protect and offer refuge to ...

change.org

 

5 a) an 1 1 alt eco

& Inreply to NYPD NEWS
f K Grace Price @GracieeGorgeous - 12 Oct 2014
& @NYPDnews @NYPD28Pct the @NYPD ##Honor911 by treating survivors w
respect. DON'T PROLONG OUR SUFFERING w MISDEEDS: chn.ge/1IfKJZd
+ ey ili eee

In reply to NYPD 28th Precinct

K Grace Price @GracieeGorgeous - 10 Oct 2014
@NYCAGAINSTABUSE @NYPD28Pct victims be wary of the 2-8: their "Help"
put me #Rikers & my abuser walked chn.ge/1 HKIZd #JIAILSACTION

rs ed ll ene

 

& Jn reply to NYPD 43rd Precinct

K Grace Price @GracieeGorgeous - 10 Oct 2014
@NYPD43Pct @NYCagainstabuse | went to @NYPD28Pct 4 order vs my
abuser | was thrown in #Rikers. Talk to Advocates 1st chn.ge/1lfKJZd

4 7 ill ene

io,

=

In reply to Commissioner Bratton

&
- K Grace Price @GracieeGorgeous - 26 Sep 2014
@CommissBratton are the sgts being reminded to impart that pcts are not to rip
up complaints of #IPV victims? DIR102111 @NYPD28Pct #sffny
4 te ili ania

wv

Back to top
 

witter.comy NC

{ aOLeom- News Sp ff eCourts Git Divorce Resources FE wewnycourts. gowe: RY weav.nycourts. gow/t- vanunycourts.gawsi i) Netflix - Wateh TV 4: Pd Office Suppiies, Ci, me Fedix Ship Manages YouTube

    

Office to Combat DV ware blocked trom following @NYCagalfpiabt

Case 1:15-cv-05871-KPF D

 
Case 1:15-cv-05871-KPF Document 21-1 Filed 09/02/16 Page 32 of 76

asngeysureBbeahu®) 7 USspYy Sayoog AIBALE
a a adje Vice ADRIAN >
SLOz UNL GL - snoehiagseoe1O@ 9IUd BIeJE) H suey Geki elieay! TRROnee®

ees W" } +e > sjoam], €60'P
SsoUuly#
ii osnqeysuebeEDAN@

INNOOODY S.40I440 YSH NO AW Gax0071d OS TV HHOA MAN AO ALID SJeaML He'sl
FHL MO4 eoUua|oIND|seWOPH# JO NANOISSINNOD SHL Ad Uoqainejebuy® T ayers ddy
SLOz UNC EZ - SNOahio|Haa|9bINT BU BIEID s]eeml 76'S

vagal ejabuy 0} Ajdel ul > sajppes Bulzelg

S}OOM] LLZ'L
eee i" ty »> jeBngueano#

TTANOW# pebdzWib-006 ZauVHS Jezeneg Aw g NATHE Woy 116 xopOULO oA
€| ¥ GSNOlddVEL AIGA9STW OHM ASOHL Od LWHM asnqeysujebegAn@ |
SLoz une GZ « Shoshiogas) Seg T add SIRI Y

SJEOML Mev
dunia e1ueyay

 

$}29M 760'6
JOPIeYy YOSs|UeH
ece ! ts >
S}VOML ALL
OLsLELSzLAsod/woouquiny zL-zsnoabieb ayeqeq|a¢
SIdIMOSNOD HISH.L SSNS 8 AdVY OHM SGYVND SUSHI SA LINSMW) : Seoul

SIHL LNO@Y MONY GINOHS DAN® NI NSWOM esnqersulebeoku@)

2 n
SLoz Ir 4zZ - shoahlogea|sein® eo eDeID SUPA YOUES Mane

 

S]OOML LLG'Z
rn mm *% » SIE}S | YIWEQYDCUSH

S]e9M] 9Z0'%

"p-J0-SJOAIAINS/H10' 8d U9 /OlAJNOYWMSAINI NS
SADAN#

asngqeysulebejAN® 8 epueyeyuew® pdAuAw#

® sojoyaid Aq snjeys Ap# Jo JUBWasIOpUe auinbas y,usaop AayOd (LVAND AusS® F INH eZZIgq Aq poyOWold

 

GLoz Inf as - SNOBHIOHVIaIVAH® @oduUd BIeIH y 49Uye50}
ezzid pue jjeqjoo} Buug 0} INHINHEZZI d# 8S)
“#NHINHeZZ!
owe uy" e »> BHyNHINHeZZ1 d#

abueyo - SOUBIL

SOURIOIA ONS@WOP aie UOSLId Uy LALUOM JO %GL “LOWS asngeysujebej,AN®

uonoyster® ““jyouzreogesgor!/Gio'Bdys:p cAYM “S4OAlAins
g.0z Gny 2. snoaflioges|9e19M) eo B9BIQ Ta

Sspusiy PUld

a i" : 5 > MO}[O4 oe
- a x  Ayotueu® @ Aqey rt ueky P

MONLOS Oe
yx ‘veujewAN® @ 207 aurewAUL

= mooa eld
fis ‘ja
asnqeysujeBedAN® Jo YSWiWod Jato} ‘s{No7 As x ZeWO @ ulessny ezeunw

eVHNee/AT Ug
UO!JENSIUIWIPY OISe|g SP SY} JO} uoneUBlsoy JayjOuy
SMONSWUNTALO® Sy AyD

 

ALlg BSOY YSILUWOD JeLWIO) JOHJOJ NOA Aydunupauel@ smansuwrqjAlo®

Z INf - snoabiegesiw5® vould eID y IE MAIA - YSeYOY - MO|JOJ OF OUAA

Asuojdo soyy | SORDIA solold s1unoo0y eArq doy

   

es © webevku® snoehuobealoesB: wo & sobessoy| wa SUOIJEDIJIION le s]usWOoYW| 4 WOH Ss 2
2 | °

———__——
Case 1:15-Cv-05871-KPF Document 21-1 Filed 09/02/16 Page 33 of 76

» socprgm er bt be eS

SODIAIOS OL PEyeueq Srey pinod UaWOM aJOU Aue; esnqeysulebegAn® .
PLOZ AON € - SnoahueDs9/9EIN® ood 99e2IH

AG YeQuiog 0} 29140 0} Alder UL Sp

eve uy ent »>

Esiayliag soysnp Ajlwe 0} eoUBIUS peluep 9 BpUeHeUUBLD 9 OdANAWH
Aq ,SJoyeoyiqey, s@ paqqnp A\Buoum Ua OB aM Op Bsa asnqeisuiebeg,n@ Tt
rloe 99) | - snoshiogss9eIQ@) IdUd GBI YH

AC 1equiog 0} 221 0} Aides ul

eve i! I ef >

"9UU MO}[OL JUOP NOA 9g W JNOA o} Aida. jued | asnqejsuiehegAN® |
pLoz 2aq | - Shoailoqess|e9@) adUd 8921) y

Aq yequicg 0} ea1yO 9} Ajdeu u|

eae I! ey a

"S]8YOHO “ONIHLON THLS 26642N0} Ul eq pinom eudelWos ples
pue Jequunu Aw 10} payse ‘o6e shep seit) du PWG noA asnqeysuiebeg,n@

pLOz 28C] G « Shoahiogesiseg@) BN BIBI YW
AC Yequicg 9} 9891/0 0} A[dau u|

 

ose y! L | at >

UOUUeByAas00@)
ginojoue® asnqeysupebegaN@® upinpwuie® ONEALYWO
JIE|OISUD eyewe® sHuyneyuig® OANZIEMMseso® osingo® :99 a

ylLoz 99d #1 - snosbhi09ea|9BIO® ed ®IeID Y

as I! b oe >

BURMIYO® asnqeysujebeg AND alo} s0r@
AUJJS@ S1V9 S,pOsd 0} Sdlj ANOA wWo4j AUIASTAlINFAY LD. wowoussajsajon@
Slog uer Zz - SNoafiloges|[eIQD) add BIBI H

 

AIO ON SS9|9910A, 0} Ajdau Uy

ose i" t »

sBunes gerele — IBIS O'S/O'P
Zpzsnoebiob
ajquiny

dja p Weu] 0} JUSM | UUM SJOyIY HF Ul OU Huisso}
y epueyeyveW® Buins JOAAins aauajo|Aosauod# asnqeisujeiesku® 1
SLoz AeW BL - SnosfiogeaileiIg|® edd 69BID Y

 

ene Ay! tt a

woo'sjquuny'zpzsnoabiob

“1 GNY ASNOW AW ONIIVALS ‘SW ONILVSd dOLs OL WIH ONIT1SL
MAMALLIVE AW LNSS | SSDVSSSW LXSL SSSHL AO HOVS Yod
ZLzsnosbi0b6

, 2 O HeBeoku® snoeBiobeae/6:woy wa sofessoy| TA] SUOIJEDIJNION v s]usWwoyy 4 2UWIOH 9.

 
Case 1:15-cv-05871-KPF Document 21-1 Filed 09/02/16 Page 34 of 76

{ doy 0} yoeq

a

eee Ay! mn a YS»

380 SLNIVIdNOD CITA
FOIOA OHM SYASN HOO18 LON CINOHS DIM18Nd SHL AAYAS OL SLNOOV
YALLML ONISN SIVIDIFIO OMand esngeysupebegAN@ idRZddANO
FLOZ 10 PL. SnoahiopasoRIgD) 89d 8IBIH Y

JOUISad UIST GdAN 0} Aldo ul

 

eve i" iL Zz tt >

jueys
pooB e@ 0} yo si aYg "}W99e JEyIM) g-Z OY) WO BW Peyx90|q aqQO “dsu| ANIASO
asnqejsulebeaAN® d8ZddAN® uoyesgssiWUWi0ND SMANAdAN®

  

 

 

PROD PO re Sie .

 

yOUIDAd YIGZ Gd AN 0} Aides uj >

ene ey! | >

jul yBis syy agg ‘dsu] jjod WWeZ Ayip 9 ydnsoo ayy) pes] 0} ea1049 yea ANIAS@
uoyeugssIMUuED® yquereyuen® asngeysurebegAn® WdsZddAnNO
PLOZ 190 y} - Snoeh0Ngea/9EIN® dud SPIN y

JOUIDAd YSZ AdAN 0} Aiea uy Sp

eee ij! tt “p>

JUSWISDJOJUS Me] Aq SPSePSILU JO Og JaYNS js
sn jo Aue ajOsioAeWOAN® oiseigapilg® esnqeysuleBeSaN© euewwyo® |
vbLOZ 190 SG] - Snoahiogas|sBiD® 29d ee Y

 

eee uy! tx} \S

jsower
Aoeooape JNO Jo} yon os noA yuey} pue suoneinjyes6bu0d B:oOFHONON®
DIPOSIOARWOAN® 2ue|NUOO asnqesulebejAN® Jeiseosuodsgr@®
PLOZ 190 OF - SNoaBioHea|VeIN® 99Ud SIBID Y aan

umoig SSWEP gr Oo} Aides Ul Sp

 

eon uy! tt >

suo1equael, patsael Alasiel 90M Aaul 00 pewied Bem Ind V4 e1e i:
Case 1:15-cv-05871-KPF Document 21-1 Filed 09/02/16 Page 35 of 76

 

dk6 37 yABALINT CD

- |

ynoyoral sAudez

   

; we 44
dewhucuohw “4

Bilan SIe4aa8 ang DUP Sigua SJaWuiy Bis
Soy uondnuoes ydrusia

   

sains AuoL

 

—
steed be) awed,
\ é c > eee oy

| AG 1eqwiogd oO} 8D1jO BAN

_

#d1elg URED

BIOW ON PaHINCIL

=
= ee ae a =
e oe = a ae ee He .
= :
ae ' - ,
- ‘ : y
i - . SUGHAYHOU ojGeuyg sezey aQaew : :
se =
a a
ii aes a ame . -
ee = = = ee oe =
= aoe = ee _ ma P -
ae a se ae see
aE ae
=
Bi ae es .
. = oe = =
= se ne 8 es =
= = = ie

z sefessoyy jOoig

 

 
Case 1:15-cv-05871-KPF Document 21-1 Filed 09/02/16 Page 36 of 76

aJOW WBS] ‘UOSJed siy) 0} sebessaw puss JoBuo] ou UBD NOA

qe ee BOG Sie ge ee eee

dwweu JNOA ym sn apiacid nod ueD

ph0d 990 2

  

an
@

   

JOU LUISA] B 8) | Og PUY pe

PASTS Sohwwyo FE HOY]

 

ylOz 99d Z
© 4 “SULHHA
of @o1Ales de OA Apio Sep ou)

1B

 

 
  

aogent Apu na oun:
Aug i

 

Oy PO

 

JG Ue!

 

 
 

WADIA TISGDUUL UB Sealy Bugcuy

BIN Age G Aus DeLIeowNA

 

£ SLOUM Si

 

Lui Gia gid eb

 

UO pI! Se

 
  
 

  

Gre JO S4OH
SOUR] ABUGUBAULO EDUCA:
au, “ObG) B29 re “OL Addny

rlOe 980 @
‘nok T=
AN

jsisse Jayeq Aew om os UOHeWUOUl

yoe]UO9 pue SUIBDUOD INOA
oj Bululeped syjeyep Joypyry aplAoid
eseaid ‘sn Buyoejuos Joy NOA yUeYL

vlog 290 |
nos ==
AN

ysisse sey0q ABW OM OS LOQBUNWO}U!
joe@]U0d puke SUIS9UCS INOA

0) Bujuleyed si1eyep JaujNy apivoud

aSka|q ‘sn Gugoejuos so, NOA yUeUL

XK ee AG JeQuod 0} S9WO Saw >

 
Case 1:15-cv-05871-KPF Document 21-1 Filed 09/02/16 Page 37 of 76

ao WBE] ‘UOsJed sit} 0) sebessaw pues soHuo] Ou ued NOA

vRVU ~vYul se
@ ‘ NAS
au ui sao nein oo Aous A

pea AOUIG

 

PLO 980 &

“ssosse JeyUn oO} Aous
NOA JOE}UCD |IIM EIS INO JO JOQuIE

y ‘UOREWOpU! ANCA JO} NOA yUBYL
rL0z 990

gi

@:

 

y soront Bunpesunoc
POPIOSINS OAMEPING OLAD
DU) @ sad £ 4BAG 10) 91

BRE |

 

RR
BSP MUON | ULL Goad ANey

yL0Z 990 Z
éyeys ayeudosdde jsow ey} 0} NOA

JO@UUCO UO eM JeLy OS UBnolog pue

ei

@UWIBU JNOA YIM sn aplAoid NOA UBD
FLOz 990 2
© 4 ab, Gut HH dO} Heys OF OeMOHE
JOU (UE SAN} B Pati, | Od Pue Pope

PAS POss

SISAL

 

BID SEEIBUO Ye DRY |
pL0z 990 2

@:

“SUHEA
oy ocues Gy Sah Apue Sep ou]

 
    

JOUEBO
onl Auge OU) 1B SeRUiKI@GE
Aug Sy

gf LUGE POLLEY USE Bal
“GH

5
AG

 

U@OQUHal UE

   
 

pbtladan cay tae SAG

eM 1 Bupacuy

D PRONE eRe

A JeQUad 9} SOO

gi

 
Case 1:15-cv-05871-KPF Document 21-1 Filed 09/02/16 Page 38 of 76

aJOUl Wea ‘uosied siyj) 0} sobessaw pues s9Buo] ou ued Nod

pease See See gee ee etree ea pee

aweu INOA YM sn apjAoid Nod ued

yhOd 990 Z
5 LE JOO? CaS Of POOH

ay a
€ JOU AGE NSALRE B DOI] DG NUER |

PUY DOSERLUSIP SOOseYO [Pe ORY |

 

(o
@

 

BOS

vL0c 980 ¢

© 4 “SUA

Oo) aoaaes dup earl Anio sep Out

 

WLS
rH APU RY, BU IE SORINOIWSDA

 
 

IbOE POUBPE UBOY BA

WHA RISGOVU! Us SBA Oe

 

ohh ote pe Aged Aul pels \
1 OIOUAA QOS UL @ui Tid @}y

 

Os IByUL Seu BASUBYAA
1G SE UOLIGAT
109 CDMURGU UCU

SUL OFEE B29 ORG “ol AdeRY

  
 

  

ASHE Kr SA

rege Apuawe,

¥l02 9980 @

"nod

ysisse seyeq ABW om os UO eULOjU!
yOe\U0D pue SUIs9UaD INCA

0} Buiujeped sjieyep soyny opioid

aseaid ‘sn Bugoejucs Jo) NOA xUeYL

ei

yl0z 260 |
‘of =
SAN

jsisse ueyoq Abu aM OS UOHeUO}U]
JOBJUOD pue SLUsIUOD ANOA

0) Bujujeyed sjjeyop sayin apiAqid

aSeaid ‘sn Gugoejuos JO, NOA HUBYL

X ov AG }eQWOD 0} SDI Saw >
x

Aitter.com

} AOL.com - News, Sp

"@

Case 1:15-cv-05871-KPF D

fR ecourts Gt Divorce Resources SR wweenycourts.gov/a

4 MOments

3

Rose Pierre-Louis

Pel) AP eee
Se a A

fff! waew.nycourt.gov/t wweenycourts.gow/a: i Netflix - Watch Ty Sr

 

[Gd Office Supplies, Offic. se FedEx Ship Manager YouTube

Q =

 

YWho to follow - Refresh - View all

Jamie Kiistein ©;
4 &> Follow

Translator

  

 

2; Follow

Erik Jensen

Mr. Five Muyalim

 

> Follow
  
  

MENLY Yd JLVAWILNI NY WOU

PPE SLE ier eR Ur eee WW ECEIIECRE RMT MUN MILO

ea PTVLCe Loa BP LLh PR i] Roadie a Lm MMET No cIp INN mem oO | bauer MUL LAB Le!

SSeS ASE LW act] 2am

RTC ISeA EN
aS TELUS UE i Ue Oke

“} 10} NOSiHd NI aan

EMME CR elle nelle OCEEA CERT iar

7 UY sll a Usupyys seq) Bunusey wos

Se aed Lh ee A) aETAala cae p Rcler ew UL PM CUP mULIe LA)
EL lh ile NOSIUd Ni lNd 3¥v SYAHLOW

PNP emUL cary. 00 es mPa LoL BALD ;
STAMOS E YEU DL SIIVLS 62 NI

'
i
J
Lj
LY

‘fe}|
|

LAUN-SJOAIAINS GOUDIOIAI|SAWOPF Be SIBAIY# D USUOM %G/ oAuydi@

oIseIgapIIg® uojoysper® * jaszieesesgor 1/60 Bdys'p
SLoz Bny 2 - snosisogjes19eiIN® 8dlid 99215 y

ove i! et >

BuloB w,| eueme ale syjoy Nok aday jodgzZddAN© DAN 1dyO vaueneyen@

“s7g9e7897 LAsod/woo'Nquiny’z | zsnoabuob “sus JnoA {je dn Bip o}
GLOz Bny 9 - snoeBsoneaI9B1N® 9dLid 8DFID YH Ta

eon A! tt ~»
‘pned & SI dy UOAeW) YW dN SxeM ieHseddo a4) eNO ON HO

WACK JO SAOAIAINS PUB SLUITDIA JO) B]BOOAPE SS9ja.ll} S| SANIdND,, OSES epIiG@ | Ay
SLOZ 190 6) - SNOshiogea|9eID© e@9Ud 9221H

i

A suondo aicly Soaplh sojoug = = sjuNooOY

sAujdi@ snosbiobsepes:

Case 1:15-cv-05871-KPF Document 21-1 Filed 09/02/16 Page 40 of 76

oul spy senjoog AdeAud
sual, clay Moqy jJOPMAL 9,07 @

S}PAML Pyb'P
wwijL4S06VPUELaH

SJBOML H7'EL
aes ddy

S}ORM ZLE'S
sajppes Bulzelg

Syeam ZS7Z'/
sebngussnoy

SISOM MEPL
Guiniy eye

S}OOML SOP'6
JOWIay UOSUeD

S}OML APL
aeqeqla#

S]EOML ME6'SL
aul Wua4yaUed Lng

SJoOML 21G'Z
sueysiyaweguneuse

S}e3M| 9Z0'Z
OADAN#

IH BZZlq Aq peyowdd

‘y9y)e60}

ezzid pue jjeqjoo) Buug 0} INHINHEZZid# BS)
“IOHINHEZZ1 dt

aBueyd - SOUeI

spuely Puly

MOOI s=
‘“og® diysuequelg spouuy
mollod +o
x  “4eyed@ 2 pseeBsies 130d
mo||od }
““MZe® Suave OW” WRIINIM Li

x

x
2 MIA - USEYON - MOJO] O} OUAA
el
eAy
OU
Case 1:15-cv-05871-KPF Document 21-1 Filed 09/02/16 Page 41 of 76

| do} 0} y9eq

A

woo'sauiyAU

“suequunu ay} ye yBnoue

peu yoo| ysnf Nod J — OJez 0} soyes OuulsO JeH ed

no senaijeg Ajunog yOA MeN Jo Aousoye JOUISIP OY L
SUID 0} yoRoiddy ,jeqAeuoy, S,4f SOURA smAp

JAUaAMPUI® [eBelgueuON® gzwwoig® jEYjUssOYUs|}eH®
OISE|GOPIILIGD DANIdN® semeiqeseHO serjoucepib® aosmewwAL® :O0
rLOz 28d 7} « SNOSH0NE9/NFIN®) 99 VDI Y

 

oe i! tt »

ayowoukes# prsoujoyoes@ 29 \C# S80P DAN Moy OW MOUS, O} B 48]U8D
si a\b.o1 esiwioid- snok zn buipjoH DANTdN®) f

      
 

 

 

GLOZ JEW Sz - SNoeBiogee|9BIN® edUd 29e1HD M

 

one Ay! ty >

woo'ujquiny’zpzsnoabiob

“| uWaTO 3g S137 ‘esnge umo Aw ,peyeouqey,/peuiBeuwl! | yeu) Aep siuy
0} UOIISOd OY] SNIVLNIVN TIHILS Soyo sAeuony Josiq ueWeyueW oy
ZLzsnoebi06

asngeonsawop#/m diay p yqueneUuUeEN®  GdANAWH
Z Win}  USYM BIS }.uee N SVMs Ayo JOAMOU® JO USLUO/, oAuMi®

c tT okujdi® snoebioBae|es6:wo0y A seBessoy pa © SUONEOWON Gp = SUSU &

eee WT h uy >

“JINL TIVE LON ‘LNOddN'S 033N SHOAIAUNS

 

@woH 8
.
Case 1:15-cv-05871-KPF Document 21-1 Filed 09/02/16 Page 42 of 76

 

 

 

 

ws Oo JOnIML Yokes & sobesson pq — suoneoynon By = SELON & ow

 
Case 1:15-cv-05871-KPF

QJOW LUBST ‘SlgOM | S.AANTIAN® Guimain pue AANIAN® Buimoiol WoOll.9eHDold S1B NOA

* Be

JOM yess.

Document 21-1 Filed 09/02/16 Page 43 of 76

OJUl spy sohjocg
Aoeauiy Sua, djaH
jNogy 4HMAL 91.0 &

syaem| 99Z'r
wyl4jsogyPpueig#

S}OOML 47'S)
ayeyg ddy

SOOM ZLE'G
sajppes Bulzelg

seem ZSZ'L
Jeingusenv#¢

S}OOML HEFL
dwinay eyuejay

s}8aML Bgr'6
JOVIay UOSWES

syeomL MLL
aeqegiat

S}POEML 18h
eu] Wa YyaueoLUNnyy

sya 215'%
SIEPS|PYawegyusyeus#

sJeeM 169'2
DIADANF

INH ezzig Aq pa]owad
‘yoyyeGo} ezzId pue |Jeq}oo}
Buug 0} JNHINHEZZId# 8S)

‘PUHINHezZI1d#

aBueyo - SOUS

spusliy puly
MO IO4
6 aw
x °*"@ [PBUSIW ba
mMo|/O4
xy

x  tunay liv

MoO|/O4

tT

“gq pamoj[o4
xX ‘“casueart AWA

 

JE MALIA - YSOysy

MOI} O} OU

SAN1dy®
sino1-a113l4 3SOmM

sebessay| ws SUONeSYNON vw sjusWOyy 4 @WwoH 8.

&
 

Case 1:15-cv-05871-KPF Document 21-1 Filed 09/02/16 Page 44 of 76

QU Spy SayooD
AORALe = Slual, djpay
nedy JOWML 9106 @

SJOOML Z'8b
ayeig ddy

syaamL C60'F
SIOULULY

so(ppes Bulzeig

SJ8OM| ZSZ'I
aeBnguaend#

S}OOML MEL
dwn eyuejeyy

Seem) 88r'6
JO][19y UOSLUES

S}OML Hb}
ayeqeg|a#

S]SEML HSL
SUIWUAaYysUeoLUNye

syoaM| L19'Z
siE}S|yaueguoveus#

SyeOm| 265'Z
DADAN#

NY ezZZIig Aq psjowosd
‘yoyyo6Go} Bzzid puke [JEq}00)
Buug 0} INHINHEZZId# BSN

“Hi nynHezz1d#

abueyd - SOUdIL

Spusly pul
MOI[O4
7
xX °"@ [eusIW baw?
MO||OF
xs
x “YybIsO BR

 

MoOj|O4

7
Sa |
x ‘ wnubew

Ye Mal, - YS

‘MO|IO} OF OUMA
aJOUl Pd8ZAdANO
Wied “SIEAM| SJZARZAAAN@ BUIMAIA DUB. 124RZAAAN®) GUIMoilo! WO DSXIOIG BIB NOA @ 19UI0981J4 W187 AAAN

0 JORIML YOUEES & sabessoyy we SUONEDIION vw s]usLUOYy 4 @woH &
ase-t:+5-ev-05871-KPF Document 21-1 Filed 09/02/16 Page 45 of 76
Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 1 of 81

 

Exhibit A

 
 

 

CAS eee aS ial eGo el OHH OO TO Pe TO OT TO
se 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 2 of 81

 

1 COURT OF APPEALS
2 STATE OF NEW YORK
3 oe ee ee a ee
4 PEOPLE,
Respondent,
5
-against—
6 No. 72
RAPHAEL GOLB, '
7 |
Appellant. |
8
Be nnn eee nee |
9 |
20 Kagle Street
10 Albany, New York 12207
March 25, 2014
11 Before: i
5 CHIBE.vJUDGE JONATHAN. LIPPMAN
ASSOCIATE JUDGE VICTORIA A. GRAFFEO
13 ASSOCIATE JUDGE SUSAN PHILLIPS READ | :
ASSOCIATE JUDGE ROBERT S. SMITH
14 ASSOCIATE JUDGE EUGENE F. PIGOTT, JR. |
ASSOCIATE JUDGE JENNY RIVERA
15 ASSOCIATE JUDGE SHEILA ABDUS-SALAAM |
16
Appearances:
17 '
RONALD L. KUBY, ESQ.
18 LAW OFFICE OF RONALD L. KUBY
Attorney for Appellant
19 119 West 23rd Street, Suite 900
New York NY 10011
20
VINCENT RIVELLESE, ADA
21 NEW YORK COUNTY DISTRICT ATTORNEY'S OFFICE
Attorney for Respondent
22 Appeals Bureau |
One Hogan Place, Room 854
23 New York NY 10013
24

25

 

 

 

Karen Schiffmiller
Official Court Transcriber

 
Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 3 of 81

 

 

 

 

 

2
|
|
1 CHIEF JUDGE LIPPMAN: 72, People v. Golb. |
2 Counselor, do you want any rebuttal time?
3 MR, KUBY: I'll take three, if you would,
4 Judge, okay? |
5 CHIEF JUDGE LIPPMAN: Three minutes, you |
G have it, go ahead. |
7 MR. KUBY: Thank you so much. May it
8 please the court, my name if Ron Kuby. And this case
9 presents the question of whether communicating under |
19 the name of another real person, an act of literary |
11 impersonation becomes the crime of fraud simply |
12 because stheowriter intends some benefit from his ox
|
13 her writing or intends some harm, as a result of his |
14 or her writing, regardless of whether that benefit -
15 ot
16 JUDGE SMITH: Can ~ - ~ can this ~ ~ 7 are
17 you really saying that this legal for - ~ ~ for you
18 to take - - ~ to send e-mails in my name confessing :
19 to the assassination of President Kennedy or
20 whatever. You can do that?
21 MR. KUBY: Great news, Judge, in your name,
22 no, because you're the government. And the
23 government ~ - ~ I recognize you're a branch of the :
24 government, but an important one, and the government
25 simulation of court process, official judicial |
|
|
 

Case. Facil Sod — He ONOMTI Payers OTTO” YSSSSSSSS~sS ,
\

Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 4 of 81

 

1 imprimatur is different.
2 JUDGE SMITH: Okay, well - - - so you're
3 saying - - ~ but - - ~.but when I'm not the
4 government next January, you can do it?
5 MR. KUBY: I wouldn't, but it would not be
6 criminal. Would it be rude and boorish? Yes. Would
7 you have a remedy for this - ~ -
8 JUDGE GRAFFEO: Well, what if ~- - - what if
9 somebody loses their employment because their
10 employers think that they're engaged in some activity
11 ‘that they're not doing, because they - ~ ~ they've
42 been represented-—on—the—Internet_as_taking cerlain |
13 positions or engaging in certain activities that they
14 didn't authorize.
iS MR. KUBY: I understand that. And - - -
16 SUDGE GRAFFEO: That's not - - ~ that's not
17 criminal?
18 MR. KUBY: Well - - ~
19 JUDGE GRAFFPRO: I mean, there can he some
20 serious financial and employment and personal
21 ramifications?
22 MR. KUBY: Well, yes, there could be, and -
23 - - and when you're talking about generalized
24 reputational damage, I lost my job for this discreet
25 sum of money because this person said these things

 

 

 

 

 
 

ecco Searle tales olerrlieafaliOSere rime OCOD OM TOPS so Ul TO

sage 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 5 of 81

 

 

 

1 about me, there is a civil remedy.
2 CHIEF JUDGE LIPPMAN: Where ~- - ~ where
3 does it cross over into criminal? Where - - - where
4 would it be in this kind of situation that - - — that
5 you're dealing with? What - - - what - ~ - what
6 would your client have done that would have made it
7 criminal ~ - 7
8 MR. KUBY: Oh, oh, oh.
9 CHIEF JUDGE LIPPMAN: - - ~ as opposed to
10 what he did now?
11 MR. KUBY: Easy. He writes, takes the
iD LawrenceSchiftfiman_e=mail
13 CHIEF JUDGE LIPPMAN: Right.
14 MR. KUBY: Sends an e-mail to the - - - the
15 bursar at NYU saying, you know, because I stole
16 Norman Golb's theory and so much of my success is
17 dependent on Norman Golb, please deposit ten percent
18 of my salary into Norman Golb's checking account.
19 CHIEF JUDGE LIPPMAN: So it's got to be a
20 direct economic benefit? That's criminal.
21 MR. KUBY: Well, if - - - if there is a
22 direct economic benefit, or economic harm, it is
23 criminal.
24 CHIEF JUDGE LIPPMAN: What if - - -
AS JUDGE PIGOTT: You're saying it's a

 

 

 

 

 
 

SSSI tT Te COTO Pale DU Or TO
one 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 6 of 81

 

 

    

5

1 larceny.

2 MR. KUBY: Right. Or in this case, at

3 would be standard as - - - as you put it, Judge

4 Smith, good old fashioned fraud.

5 CHIEF JUDGE LIPPMAN: Okay, that's. one

6 criminal ~ ~ -~ that's one thing he could have done.

7 What else could he have done that's criminal? We

8 have a whole bunch of charges here. What else would
9 have been a criminal act in a context of what we're
10 dealing with here?

11 MR. KUBY: He - ~ - for example, he wants
12 hia—father toush k ticular lecture and

13 doesn't want Schiffman to be at a particular lecture,
14 so he takes his Lawrence Schiffman e-mail address,

15 sends the airlines a note, saying I'm canceling my
16 reservation. You lose the value of the plane ticket.
1? Tot ~ -— ~ clearly, exactly the type - - ~-

18 JUDGE RIVERA: And if ~ - ~ and if someone
19 disinvites him because of the barrage of e-mails?
20 MR. KUBY: I'm sorry?
21 JUDGE RIVERA: Is that - - - if someone
22 disinvites the speaker, and they lose a
23 MR. KUBY: ‘Then that begins ~- - ~
24 JUDGE RIVERA: - - - the financial benefit
25 and the reputational benefit of the invitation.

 

 

 

 

 
 

enero Grime SSaeceela DOC HTERRE—HET O MNO T IO Pole ol UT TO

se 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 7 of 81

 

 

1 MR. KUBY: Well, how is that any different
2 from the type of public criticism that public folks
3 go through every single day? There - - -
4 JUDGE SMITH: Well, because you lie - - -
5 because there's a lie. Because you're - ~ ~ you're
6 deceiving people into believing that this is Mr.
7 Schiffman and it's not.
8 MR. KUBY: Well, that's right, Judge. But
9 that - - - unfortunately, we're - - -
10 JUDGE SMITH: Why - - - why - - — I mean,
11 does it make sense that you say it could be criminal
2 tocancel_auguyls_plane_reservalion =~ =
13 MR. KUBY: Right.
14 JUDGE SMITH: - - - using his name, but it
15 - - - but it's not to destroy his reputation?
16 MR. KUBY: Well, again, it depends how you
17 destroy somebody's reputation. If you destroy
18 somebody's reputation by sending out this false
19 confession that is directly linked to the true
20 account of plagiarism, and people read that and say,
21 oh, my God, Lawrence Schiffman, in fact, is a
22 plagiarist, if you ~ ~ ~ if you tease them in by the
23 use of ~ ~ - of the Schiffman name, and then they
24 come to the conclusion that Schiffman has done these
25 terrible things, and he loses his job because he's a

 

 

 

 
 

 

CASO 11 Sele 52 ZL lk Die le lastahlaiarabarleetedencemeefani anh ayieyriahilaGammnfan Some
se 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 8 of 81

 

1 plagiarist - - 7

2 JUDGE RIVERA: But what you're saying is

3 the person admits to the plagiarism?

4 MR. KUBY: Pardon me?

2 JUDGE RIVERA: You're saying through the e~
6 mail that he's admitting to the plagiarism - ~ ~

7 MR. KUBY: Well - - ~ well - - ~

8 JUDGE RIVERA: ~ ~ - which is different

9. from someone - — ~

10 MR. KUBY: Right.

11 JUDGE RIVERA: - ~ - simply claiming the

‘+2 person-is-a-plagiarist

13 MR. KUBY: How is that any different from —
14 - ~ from Tucker Carlson sending out his e-mail under
1) the name Keith Olbermann, and sending out something
16 that actually sounds like Keith Olbermann, only a
17 little crazier than Keith actually is, and - ~ -

18 JUDGE RIVERA: SQ = 7 =~ 5Q ~ " ™

19 MR. KUBY: - - ~ and people say, wow, he's
20 really nuts. And - - -

21 JUDGE RIVERA: So apparently - - -

22 apparently to the research assistants they thought it
23 was the professor.
24 MR. KUBY: Well, one - ~ - yeah, that’s
29 right. One student thought it was the professor and

 

 

 
 

 

C

ase 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 9 of 81

 

 

1 came up to Professor Schiffman and in substance said,
2 don't worry, Professor Schiffman; your - ~ ~ your
3 history of plagiarism and your desire to conceal is
4 safe with me. That's - - -
3 JUDGE SMITH: But you're - - - you're - - —-
6 is it - - - is it necessary to your argument that
7 Schiffman's in fact guilty of the ~ - - of the crime
8 that - - « that your - - - you know, your client had
9 him admit to or used his name to admit to?
10 MR. KUBY: It - - - it is not, although
11 frankly, it's - - ~ it's helpful, but it's not
12 necessary.—Los—Angeles_Times_= ==
13 JUDGE SMITH: But it could be - - ~ it
14 could be ~ - ~ he ~ - ~ he - - ~ he could have done
15 the - - - he could have admitted that he's, you know,
16 that he’s an assassin, that he's a thief. And you -
17 - ~ are you saying that's because the statute doesn't
18 cover it, or because it's constitutionally protected?
19 MR. KUBY: I'm saying that the statute
20 doesn't cover it on vagueness grounds. The statute
21 doesn't cover it, because the statute has never been
22 read to cover that. And as to whether you ultimately
23 could criminalize conduct that you have not yet
24 criminalized in the State of New York, I will go in
25 the same direction as the Skilling Court. I'm not

 

 

 
CASO 115. Ou 0527 KEE Docume Rinne Rhee OOHO RCP Ee Se

 

Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 10 of 81

going to start to define with precision when
intangible harm crosses the line into vagueness, All
I will say is that - - - that as in Skilling, if - -
~ if your definition of harm or penefit is anything,
psychic joy, savage pleasure in demolishing an
opponent in an Internet argument, that goes way too
far. Now - - ~

JUDGE SMITH: What the stat - - - what the
statute says is the person is guilty of "criminal
impersonation when he impersonates another and

doesn't act in such assumed character with intent to

 

15

16

17

18

19

20

21

22

23

24

25

 

 

obtatn-a—benefit—or—te—injure_or defraud another."

 

MR. KUBY: That's right.

JUDGE SMITH: It sounds - - - sounds like
it describes what your guy did.

MR. KUBY: Well, it does. As long as you
want to define benefit or harm to be anything.

JUDGE SMITH: Well, I was actually defining
the word "injure". I mean, isn’t - - - I mean, isn't
- - - isn't injuring Schiffman exactly what your guy
was trying to do?

MR. KUBY: Well, I would maintain that what
my guy was trying to do was expose Schiffman for the
mendacious plagiarist that he was. Now ~- - —

JUDGE SMITH: Okay. Okay, okay - - -

 

 

 
 

(oe ore SHS arr mhS lanle amo eat OTTO Poe ee OT TO

Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 11 of 81

10

MR. KUBY: Now, obviously Schiffman sees it
differently.

JUDGE SMITH: Okay, hut the jury did not
seem to agree with you.

MR. KUBY: Right. Well, the jury wasn't
given the opportunity to consider that question ~ - 7

JUDGE RIVERA: And he did it by
impersonating him, as opposed to simply saying, he's
mendacious.

MR. KUBY: That's right.

JUDGE RIVERA: Right?

MR KUBY That's right. But_how_is_this

 

La

Ags

16

18

19

20

21

22

23

24

25

 

 

 

any different from the impersonations that are done
of Cormac McCarthy to the Koch brothers, from Sarah
Palin to the mayor of Paris.

JUDGE SMITH: No, no, but wait a minute.
No, but - ~ - I mean, if ~ ~ - because nobody - ~ —
because everybody knows that Tina Fey isn't Sarah
Palin.

MR. KUBY: I’m not talking about that. The
New York Times was fooled enough by a tweet from
Sarah Palin that they published it. Governor Scott
Walker actually thought he was talking with David
Koch when the radiec host impersonated him.

JUDGE SMITH: But why - - - why - - ~ why

 

 
 

. .
rere Salen elena OHO I HECPONOM LO Poe OO OT TO

Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 12 of 81

 

 

11
1 should - ~ ~ why should we assume that the people who
2 ~ - - who pulled those little capers are not
3 punishable? |
4 MR. KUBY: Well, if you're going to assume |
5 that, in fact, all of these people are publishable |
6 (sic), ineluding the Republican Party, which opened |
7 up eighteen websites in the names of democratic |
fq candidates who they wished to attack, you're
9 attracted - - - wow, it's Nancy Pelosi. I'm a Nancy |
10 Pelosi supporter. I click on and I read all kinds of 7
11 things I didn't know about Nancy Pelosi. |
45) JUDGR<SMETs—— Okay bution yeah = |
13 well, wait - - -
14 MR. KUBY: If - - - if those prosecutions
15 are going to go forward, then Mr. Rivellese should do
16 them.
17 JUDGE SMITH; Wait a minute. Wait a
18 minute. They - ~ ~ yeah, those - ~ —
19 MR. KUBY: Do something useful.
20 JUDGE SMITH: Yeah, there might be a
21. problem there, but -~ -~ - but you don't go to that - -
22 -~ the Nancy Pelosi, then you don't see Nancy Pelosi
23 confessing all her sins on that website.
24 MR. KUBY: Oh, say ~ - - I actually didn't |
25 click on. Let's say you do. Nancy Pelosi confesses, |

 

 

 
 

 

CAS Berle hlele eS Galerie OCR —— HCHO OPT TO ee OT Ul TO

Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 13 of 81

12

 

 

1 yes, I'm destroying America through Obamacare. Yes,
2 I have. I have handed over the reigns of power to a
3 Kenyan-born Muslim - - =
4 JUDGE SMITH: And - - - and - - - and - - -
° MR, KUBY: - ~ - who wants to destroy
6 America. Then they get prosecuted?
7 JUDGE SMITH: And you say that I~ =~ - Tf,
8 the Republican Party, am entitled to do that? That's
9 legal?
10 MR, KUBY: I'm sorry, Judge?
11 JUDGE SMITH: You say that the people who
£2 put up -a-website bike that are entitled bowdowit?
13 MR. KUBY: Well, you know what? Nobody,
14 nobody has prosecuted them yet, and I suspect that
15 it's not going to happen from this side of the table,
16 nor is Tucker Carlson going to get prosecuted. The
17 person ~ - - as with all broad sincerest power, the
18 people who get prosecuted are not the people who have
19 power who can push back. They're the nerds and the
20 dweebs.
21 JUDGE GRAFFPEO: So what - - - so what - - —
22 what are you asking us to define - - -
23 MR. KUBY: The dissidents.
24 JUDGE GRAPFEO: - - - as to when the line
25 is crossed between civil or criminal liability in

 

 

 

 
Case 5 cy 0 5821 KE le se tahlaiade ialededeaeteennbenileneh OOo aes EE

 

Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 14 of 81

 

 

13

1 these cases?

2 MR. KUBY: Well - - 7

3 JUDGE GRAFFEO: What are you ~ - - what are

4 you suggesting we say?

5 MR. KUBY: What I'm suggesting you say - —

6 ~ .
7 JUDGE GRAFFEO: I presume you're not going |
8 to - - ~ you don't expect us to say there's never any

9 criminal - - -

10 MR. KUBY: Nope.

11 JUDGE GRAFPEO: - - - liability.

T2 MR. KUBY: Nope. I'm -suqgesting that you
13 do exactly the same thing that the Skilling Court
14 said, which is, based - - - he essentially, based on !
15 our case law, we have authorized the prosecutions for

16 property, pecuniary interests, and also defrauding

17 the government, obtaining government penefits. So
18 even intangible benefits like liberty, but - ~ ~ |
19 CHIEF JUDGE LIPPMAN: But does annoying
20 behavior, obnoxious behavior, never can cross over
21 the line into criminal behavior? |
22 . MR. KUBY: Well, obnoxious behavior, as

|

23 such, intent to annoy, intent to be obnoxious, that !
24 in and of itself, cannot be criminalized - ~- - |
25 JUDGE SMITH: You're now ~- - ~ you're now

 

 

 
 

OAS ed el SZ LL cease veshehlanaeiaror le lemasmenlanh shal YH) a ref Sees

 

Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 15 of 81

 

 

14
1 on the harassment charge, I think. The ~ - ~- the - -
2 - IT think the Chief's ~ - ~ the Chief's question
3 really is -- -
4 MR. KUBY: Yes, I think that's right.
5 JUDGE SMITH: Yeah, spend a minute on - — -
6 spend a minute on the harassment charge.
7 MR. KUBY: That's right. And if we want to
8 — - = and I do want to go to that, because Judge
9 Berkman was extremely careful to make sure she
10 imposed a jail sentence for each, and every conviction
11 to make sure that, even if I won ninety percent of
12 this case, this quy was still going to do some Lime
13 at Rikers Island.
14 So'I do want to address that, and in
15 Dupont, Smith, Bethea, Dietze, they all say, okay,
16 you can convict somebody for alarming and annoying a
17 person as long as the way you anar ~~ ~ alarm and
18 annoy them is within one of the five areas that have
19 no First Amendment protection. And ~- - ~ and what
20 the People have carved out here is they've said, this
21 igs invasion of privacy in an essentially intolerable
22 way. You have no privacy right to ~ - ~
23 JUDGE SMITH: But even ~ ~ ~ even if
24 they’re right, isn't there a rather serious
25 overbreadth problem with the statute.

 

 

 

 

 
   

se 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 16 of 81

 

15

 

1 MR. KUBY: Completely. If it's interpreted
2 this way, which is why it is always been cabined by
3 every court to consider it.
4 JUDGE SMITH: In the time you don't have
3 left, do the - ~ - do the computer fraud prosecution.
6 MR. KUBY: Simply stated - - - I mean,
7 First and foremost, this is - ~ - this is Drew all
8 ever again, except instead of a Terms of Service
9 Agreement, it's an agreement between NYU.
10 Not only would no one have a clue, that by
11 violating the computer policy, they're committing an
ee independent—crime,—the—only subsection jin = = = in
13 that policy itself that makes independent reference
14 to criminal liability is subsection C, 1 believe,
15 which has nothing to do with what Mr. Golb did. It
16 has everything to do with giving other people who
17 aren't authorized to be at NYU access to the
18 computer.
19 In addition, the other question, which we
20 will not address right now, unless you want to ask me
24 some questions, is the very notion that somehow
22 acting in excess of authorization means acting
23 without authorization. And so far, the consensus of
24 opinion around the country construing statutes very
‘i 25 much like this, is, no, we really don't want to go

 

 

 

 
eS e ole eE SL eevee .
Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 17 of 81

 

16

 

 

 

1 there.
2 JUDGE SMITH: That's ~ - - that's what
3 you're not going to say, right?
4 MR. KUBY: That's what I didn't say, yeah,
5 thank you.
6 CHIEF JUDGE LIPPMAN: But we'll ask you
7 more questions.
8 MR. KUBY: Oh, good.
9 CHIEF JUDGE LIPPMAN: Let's - - - let's get
10 to your adversary.
il MR. RIVELLESE: May it please the court,
T2 T*m-vincerrt—Rivellese forthe Manhattan District
13 Attorney.
14 CHIEF JUDGE LIPPMAN: Start with the
L5 aggravated harassment. What's that about? Can you —
16 a oe
17 MR. RIVELLESE: Well, well - - -
18 CHIEF JUDGE LIPPMAN: Is this aggravated
19 harassment or is this just annoying behavior?
20 MR, RIVELLESE: Well, it's both, that's for
21 sure. What's the - - -
22 CHIEF JUDGE LIPPMAN: Well, but is it
23 technically a crime? Can it be in this kind of - - -
24 MR. RIVELLESE: Yes.

29

 

 

CHIEF JUDGE LIPPMAN: Isn't that a little

 

 
 

Coed Fea E S leal che ba OCHO Riana OM tee —O OT
JASE. oa

 

Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 18 of 81

17

 

1 bit overbroad?

2 MR. RIVELLESE: No.

3 CHIEF JUDGE LIPPMAN: No? Go ahead. Why
4 not?

5 MR. RIVELLESE: This ~ ~ ~ this is the

6 closest argument obviously in the case, but the

7 aggravated harassment involves an intent to harass,
8 annoy or alarm, and it's - - - it's got an intent

9 that's required. It's also got the likelihood of
10 harassing or alarming the recipients or the victims.
11 It's also got ~ - -

5 JUDGE SMI-THs 16 i flask you a
13 question that I expect to be an annoying question,
14 and is likely to be an annoying question, am I
15 committing a misdemeanor by asking the question?

16 MR. RIVELLESE: No, because there's no

17 writing. The aggravated harassment - - ~

18 JUDGE SMITH: Oh, but - ~- - oh, but if I
19 submitted the question in writing, it would be a

20 misdemeanor?
21 MR. RIVELLESE: Well, if - - - if you
22 conveyed to somebody. So if you e-mailed somebody or
23 you wrote a letter - - ~
24 JUDGE SMITH: Really? Really?

25

 

 

MR. RIVELLESE: That's the statute - - —

 

 
 

me CASED CVO Biol Eel oleh timated O Ree GSO TS

 

Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 19 of 81

18

 

 

1 JUDGE SMITH: If I e-mail someone an

2 annoying question, I get a year?

3 MR. RIVELLESE: Well, it has to be likely

4 to annoy, harass, or alarm - - —

5 CHIEF JUDGE LIPPMAN: So if Judge Smith put
6 what he's asking you now in writing, this is a crime?
7 MR. RIVELLESE: I'm not annoyed. I'm not

8 annoyed. So I'm fine.

9 CHIEF JUDGE LIPPMAN: Oh, okay, you're not
10 annoyed. Okay. It might have been mis - - -

11 JUDGE SMITH: Give me - - ~ give me time.
T2 MR-—REVEDLESE-+—The—propex_discussion ===
13 JUDGE ABDUS“SALAAM: Counsel, is it that

14 subjective that the person who receives the question
15 has to feel that it's annoying?

16 MR. RIVELLESE: Well, no, it is - -— — it's
17 reasonableness.

18 JUDGE ABDUS~SALAAM: It has to have an

19 objective right.

20 MR. RIVELLESE: It has to likely to harass
21 or alarm - - -
22 JUDGE PIGOTT: t read this too to mean,
23 it's almost like there's a third-party one, that - -
24 ~ that if I write to you, and - ~ - and say something
25 that harasses or annoys Judge Smith, about Judge

 

 

 

 
Cac VE

Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 20 of 81

19

 

 

1 Smith, that that's aggravated harassment, even though
2 I'm writing to you and he thinks it's annoying.
3 MR, RIVELLESE: Well, if I'm the governor
4 and t could fire him, that would - - - that could be
5 the case, but what's happening here is that he's
6 targeting the people that have control over his
7 victims - - ~
8 JUDGE PIGOTT: But as a third - - ~ you're
9 saying there can be a third-party aggravated
10 harassment.
il MR. RIVELLESE: Yes, if still - ~ ~ there's
t2 sth ar-intended—vietim:
13 JUDGE PIGOTT: So if ~ ~ - well, that's I -
14 ~ = you get - - - you get three college kids - - -
15 you get some college kid who write - - - who e-mails
16 the girlfriend of his roommate saying, you know, he
17 really is a useless person. Is that aggravated
18 harassment with respect to the victim,
19 boyfriend/roommate?
20 MR. RIVELLESE: Yes, because it's got - - -
21 JUDGE PIGOTT: Really?
22 MR. RIVELLESE: It meets all the elements.
23 It does not require that the person that you send the
24 communication to is the same person that you intend
25 to harass, annoy and alarm. It's - - -

 

 

 

 
 

 

 

 

Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 21 of 81
20
1 | JUDGE SMITH: Wasn't - - - wasn’t - - 7-
2 didn't the First Department hold this - ~ ~ or at
3 least say in Dupont, that this statute is
4 unconstitutional?
5 MR. RIVELLESE: Well, the First
6 Department's decision in Dupont wasn't very clear,
7 because it says in the alternative a few different
8 things. One thing it said was that the statute did ~
9 —~ — wasn't even violated at all by the conduct.
10 Another thing it said was that it was
11 unconstitutional. |
mie JUDGE SMETH+—So-—what-ls—-—-— = what's __ |
13 unclear about that? It said two things in the !
14 alternative. It sounds clear to me. And how - - - |
15 how - - - my question is how can they then affirm a
16 conviction under the same statute, without even
17 citing Dupont?
18 MR. RIVELLESE: Well, Dupont is - ~ ~- if
19 you read Dupont closely, it's rather hard to
20 understand because it says things in the alternative
21 that don't seem consistent with each other, by saying
22 it's not a violation of the statute, and at the same
i
23 the statute unconstitutionally violated the
24 defendant's rights. It can't really be both at the
25 same time. But in Dupont there was no - - —

 

 

 
CaS ead S aca S SiR DOCH ENERO OMO=PISOSUNT OT

 

Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 22 of 81

 

 

21
1 JUDGE SMITH: Isn't ~ - ~ isn't it a little
2 odd to in ~ - - if you said, whether oddly or wrongly
3 or not, if you said a statute is unconstitutional,
4 isn't it kind of funny to enforce it in the next case
5 without mentioning the precedent?
6 MR. RIVELLESE: Well, well, in Dupont, it
7 was a little different, because in Dupont the
8 comminication wasn't made from one person to another.
9 It was just a publication. So - - ~ so the defendant
10 in Dupont just published his comments that ~ — —
11 granted they were about a particular person - ~ ~ but
12 )eoyaenlicconveying hisowriting tova person, saying
13 here, I'm saying this about so-and-so, or giving it
14 to the person himself. He was just publishing it.
15 JUDGE SMITH: But why is - - - why is - - —
16 why is Dietze - - - what it is - - - forget about
17 Dupont ~ - ~ why doesn't Dietze knock out this
18 statute? How does Dietze - - ~ how is the statute in
19 Dietze distinguishable from - - - from this one?
20 MR. RIVELLESB: Could Your Honor remind me
21 - - - is that the speaking - - ~ calling the names
22 against the people?
23 JUDGE SMITH: Well, that's the case, but
24 they - - ~
25 MR. RIVELLESE: Right.

 

 

 

 
 

io dre ale teens ia Saat ache OT OTTO ce OT
nase OT 7O

 

Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 23 of 81

 

 

22
1 JUDGE SMITH: - - ~- but they - - - but I
2 think we - - ~ I thought ~ - - I thought we held that
3 statute unconstitutional, not just - - -
4 MR. RIVELLESE: But that's - - - that's the
5 speaking of the bad words and calling names - - —
6 JUDGE SMITH: Yes, yes.
7 MR, RIVELLESE: ~ ~ - it's a different - -
8 ~ it's a different subdivision of the harassment.
9 JUDGE SMITH: Yes, yes, but it seems to me
10 that that subdivision is narrower that this one.
14 MR. RIVELLESE: Well - - -
12 JUDGE. SMITH: That-one was overbroad. How
13 can this one possibly survive?
14 MR. RIVELLESE: Well, well, if - - - I
15 guess, if you're saying that it's possible that
16 somebody could violate the statue in a way that would
17 be unconstitutional, is different from saying it was
18 uncenstitutional as applied to this defendant - - =
13 JUDGE SMITH: No, this is ~ ~ - fi mean,
20 isn't - - - when you're talking about a First
21 Amendment claim, and we are, right? Isn't over - — ~
22 isn't it -- -
23 MR. RIVELLESE: On the ~ - ~ on the
24 aggravated harassment?

25

 

 

JUDGE SMITH: Yes. I mean, he's - - - he —

 
NHS Samay ate Te tO Poe OO OT TO

 

 

 

Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 24 of 81
23 |
. 1 ~ - ag T understand it, the claim your adversary
2 makes is that this statute infringes on protected 1
3 rights - - - rights protected by the First Amendment.
4 MR. RIVELLESE: Right - - - by being too
5 vague in this case. 3
6 JUDGE SMITH: Or too broad.
7 MR. RIVELLESE: Or overbroad.
z q JUDGE SMITH: And then isn't - - - isn't he
‘ 9 -~ —- - even assuming that his conduct could be made
10 criminal, in a First Amendment situation, you're
11 entitled to do that, aren't you? Saying the statute
Le iseverbroaduandthere fore you can't enforce it, even
13 against the narrow category who might be - - - who it
14 might be legitimate to punish.
15 MR. RIVELLESE: Well, no, it should - - -
16 it has to be - - - he's not the one who can claim
17 that some other defendant could be violated here.
18 That would be the case where another defendant who's |
19 closer to the line - - -
20 JUDGE SMITH: I'm - - - I'm not suggesting
21 to you that in the First Amendment area, that’s not
22 the law, that the - ~ - that the guy who - - - that |
23 the guy who is doing something punishable, can indeed
24 assert the rights of others. Do you think ~ - ~ do
25 you think I’m wrong about that?

 

 

 

 
 

CAS Badd Bae lS Socal lel aoa OOO RH eC OR
|

Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 25 of 81
24

 

\
1

 

1 MR. RIVELLESE: Well, I- -- TI think

2 you're wrong that he can say that it's

3 unconstitutionally overbroad, when he has clearly

4 fallen within the statute. He - - - because he has

3 clearly intended to harass, annoy or alarm. He has

6 clearly sent hundreds of e~mails. He has clearly

7 succeeded in harassing, annoying, and alarming.

8 JUDGE SMITH: Okay, okay, but you don't

9 seem to be narrowing the statute that much. I mean,
10 you - - - you - — - maybe I'm back where I started,
il but you're really saying that any e-mail intended to
+2 annoy—semebody—thatsucceeds_is_a_misdemeanor.
13 MR. RIVELLESE: Well, it has to be

14 reasonably likely. The fact that it might succeed
15 could be unreasonable, depending on the - - —

16 JUDGE SMITH: Okay, any ~ 7 7 any ~~ 7

17 yeah, suppose - ~ ~ 1 can =~ ~ = I~ - - I'm pretty
18 good at annoying e-mails. I could send out a lot of
19 e-mails that I guarantee you will be annoying. You
20 say everyone of those is a misdemeanor.
21 MR. RIVELLESE: Well, the legislature has
22 said so, and in this case, I would give it much more
23 -
24 JUDGE SMITH: And you - - - you don't think
25 there's anything overbroad about that?

 

 

 

 
 

= Case 1:15-cy-0587LKPE_ Document 2 Leland OC OLOarbdab Racete efeitos
Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 26 of 81

 

 

25

1 MR. RIVELLESE: I think you could find a

2 case where it would be, I just don't think this is
3 that case,

4 JUDGE PIGOTT: Going - - - going from there

5 to the - - - to the other charges, I was trying to

6 figure out where you draw this line of the People

7 versus somebody, as opposed to what is civil.
8 And if - - - if the victims here went into

9 their local police station and said, you're not going

10 to believe this, but this is what happened to me, |
11 would they immediately pull out some forms and start :
T2 to to -put-together some-charges,—_or_do_they |
13 gay, go fi - - ~ well, go hire a lawyer. You've got |
14 -~ ~~ =~ you know, you got libel; you got slander; go
15 sue.
16 MR. RIVELLESE: Well, well, yeah, the !
17 gravamen of these offenses here is that the defendant
18 intended to impersonate another person and to |
19 convince people he was someone other than who he was,
20 and get reliance on that deception. So that's the
2i thing that makes this different from any kind of a
22 civil libel case. 3
23 In a civil libel case, you - - - you can be
24 the person who's accusing someone else, and - - ~ and !
25 you're being honest about who you are, but you can |

|
|

 

 

 
C2S20.4:1 5.02052 ZK DE camel le lestehlaiarebiarkendedeneemealaniianeheleieyereebslntgprmneias Falher me

 

Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 27 of 81
26

 

 

i still say something bad about the person, right?
|

2 Here, you have the defendant pretending to be someone

3 else, getting reliance on his deception. That's the |

4 thing that’s different here than in a civil case.

5 JUDGE SMITH: I mean, you're talking about

6 the impersonation count?

7 MR. RIVELLESE: Well, all of the counts, !

8 except the aggravated harassment at this point. The 3

3 identity theft - - -

10 JUDGE SMITH: Well, and the - - = and the -
11 -~ - and the use of the computer. !
4-9 MR.—RIVELLESE:— Right, right._The

13 impersonation of the - ~- -
14 CHIEF JUDGE LIPPMAN: But most of these |
15 situations are not - - - are not prosecuted. What ~- |
% - |
17 MR, RIVELLESE: Well ~ - ~ |
18 CHIEF JUDGE LIPPMAN: What is it exactly
19 that makes this different from all of the |
20 circumstances your adversary mentioned that you read |
21 about all the time? Why aren’t all those people |
22 prosecuted? |
23 MR. RIVELLESE: Well, those ~ ~ ~ those !
24 people did not try to convince other people that they i
25 were someone else. So for example - - -

 

 

 
Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 28 of 81

 

 

 

 

 

|
27
1 CHIEF JUDGE LIPPMAN: Happens all the time.
2 JUDGE PIGOTT: They do - ~- = they do it on |
3 the radio. That's what Mr. Kuby was pointing out, !
4 where, you know, somebody's on the radio, and they |
5 pretend to be somebody, and they're - - - you know,
6 they're ~ - - then all of a sudden it turns out not
7 to be true. There were a couple in Florida that did
8 that, ended up - ~ = I do think they were prosecuted
9 a
10 MR. RIVELLESE: Well - - -
11 JUDGE PIGOTT: - ~ - but they ended up ~ ~
+2
13 MR. RIVELLESE: Well, it would be
14 prosecutable if you're actually trying to convince
15 people you are someone else and get reliance on that.
16 CHIEF JUDGE LIPPMAN: Could you do an
17 interview program, and you call in, and you pretend
18 to be someone else, do you get prosecuted?
19 MR. RIVELLESE: Well, you have to meet all
20 of the elements of the crime. You have to intend to
21 get people to rely on your deception, to believe that
22 you're the other person, and also intent to defraud.
23 JUDGE PIGOTT: Well, what about the poor
24 Republican Party that Mr. Kuby just beat up? I mean,
29 is that true what he said, that all of those websites |
|
CaS oD aCe E ST el i Dace indeed HO OHO dome eR fs

 

 

Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 29 of 81
28 !
|
|
1 might be criminal? |
2 MR. RIVELLESE: But - - - but they're not
3 trying to convince people that they are those other
4 politicians. That's the whole point is that this is
5 - - - it's a spoof. It's a parody; it's a mockery.
6 JUDGE SMITH: But - - — but if they - - -
7 but if they were, if people are actually deceived,
8 you say it's punishable.
9 MR. RIVELLESE: It would be against the
10 law. The examples you gave before, if you pretend to
11 be a judge, or if you pretend to be a private
ap eLbizen.
13 CHIEF JUDGE LIPPMAN: So if you succeed,
14 it's punishable, but if you don't, you're okay. If '
15 you're so bad at it, that you don't succeed - - -
16 MR. RIVELLESE: Well, it's your intent. If
17 you're intending to convince people you're someone
18 else, get them to rely on it - - = it's the elements
19 of the crime. You intend to get —- - -
20 CHIEE JUDGE LIPPMAN: But if you're - - -
21 if you're really bad at it, though, you're not going
22 to get prosecuted, right? |
23 MR. RIVELLESE: If you intend, you will. !
24 CHIEF JUDGE LIPPMAN: If you don't succeed
25 - + - if you intended, but they know who you are, so.

 

 

 

 

 

 
CAS e dd Fela 5 2 Zeal iS. Sita Cita deme mi Oe OOO Rho eR ET ns

 

Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 30 of 81

29

JUDGE ABDUS-SALAAM: Well, what about the -

MR. RIVELLESE: Well, you might just have
an attempt, because you failed, but - - - but you've
attempted the crime if you intend to convince people
you're someone else, get them to rely on that, and
then get a benefit or a harm, those are the elements
of the crime.

JUDGE ABDUS-SALAAM: Mr. Rivellese, what
about the use of the computer? Apparently Mr. Golb

was an - - - is an NYU alum, and he, you know, paid

 

14

15

16

17

18

19

20

21

22

23

24

29

 

 

+ryte—-the-Bodner—(sie)—Library—or—joined,_you know, a —___},
membership group that allowed him to use the
computer, so how is the use of the computer that
apparently was permitted, how did that become a
erime?

MR. RIVELLESE: Well, the terms of use that
were found in his apartment said that he could not
commit crimes with the computers, and he also said
during his own testimony that he would assume that
you're not permitted to commit crimes on the
computers. So assuming that the other counts stand,
he committed crimes with the computers, and that's
why in this - - <

JUDGE RIVERA: But - - - but the question

 

 

 
Case 115 -Cy 058 216K PEO C06 eee OOrerde im A Oe i

 

Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 31 of 81

|

 

30

 

1 is, not that's a crime. He may assume that he
2 shouldn't do that, but he may not assume that it's
3 criminal to do that. I think that's the distinction
4 he's drawing, if I'm understanding him correctly.
5 MR. RIVELLESE: Well, then that goes to you
6 don't have to know that conduct 's criminal, if you
7 know you're committing the conduct. So = - =
8 JUDGE SMITH: But is it - - - is it ---TI
9 Mean, is it more generally - - - are you~ - — is it
10 - - - is it a crime in New York anytime anyone
11 exceeds the te ~ - ~ the terms of use of his
“12 compirtert——So—-Emy 4. f—-_work—at—a—place_that
13 doesn't let me go on Facebook, and I go on Facebook,
14 that's a crime?
15 MR. RIVELLESE: I don't think that would be
16 a crime. If - - ~
17 JUDGE SMITH: Why not? I mean, it's a - -
18 -~ you're authorized to use this computer, but you're
19 not authorized to go on Facebook.
20 MR. RIVELLESE: Well, I think that would be
21 a very difficult question, but I think that once - -
22 -
23 JUDGE SMITH: That's why I ‘asked it.
24 An annoying question.
a) CHIEF JUDGE LIPPMAN: Annoying, annoying.

 

 

 

 
Case 5.6 O52 21k ile Dic cies ecleeecleeenani nchenlaloybonleh p—Rege

 

Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 32 of 81

31

 

 

1 Very annoying question. Go ahead.

2 MR. RIVELLESE: It's possible that. would be

3 a crime. It's just not what this case is about,

4 because this - - -

5 CHIEF JUDGE LIPPMAN: How could that be a

6 crime? That you - - - that you ~ = ~ that you don't

7 follow the exact - - ~ half the people in this - - ~-

8 three-quarters of the people in this world work in

9 places where they have computers and they have |
10 policies and what they can use it for and what they |
11 can't. And each time a person does that, it's a

+2 crtme? |

|
13 MR. RIVELLESE: Well, according to the |
14 statute, but ~ - - !
15 CHIEF JUDGE LIPPMAN: If they ma - - ~- mean
16 to commit a crime? But you’re saying if it's -- - !
17 if it’s - - - if it differs from the terms of how
18 they're allowed to use it, it's a crime? i
19 MR. re eee Well, it's the same as if |
20 somebody doesn't give you permission to use their car
21 in a certain way, and you use it a certain way - - ~ |
|

22 JUDGE SMITH: Couldn't - - = can’t - = ~ !
23 can't the statute be read more narrowly? A person's
24 "guilty of unauthorized use of a computer, when he or
25 she knowingly uses, caused to be used, or accesses a

 

 

 
